       Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 1 of 121




                         CASE'. No.    3:20-cv-05389-BHS-DWC


                                 Martin Stanley Ivie,
                                       Pl.ai.nti ff
                                                v.
Travis Adam�, Detective Arnold, J. Bjorgen, Sgt. Brady, Duaty Breen, Pater
Cam.isl, Sgt. C.lark, Michael Dorcy, Investigator J)aughty, Lt. Elwin• Amber
F'tr,lay, J!Zlmss F'ol.ey, Oat. :J. Gerdnar, Dat. Gray, Marty H�yee, Michaail
Jchmstr..m, Char.lee tam:i, Capt. Eric Mainio, C.J. Maxa, Oet. Mctk1wan, William
Read, Det. J. Rhoades, Caaey Salisbury, Oep. M. Sargent, Det. Cameron Simper,
John Snaza, Bill Tuffreel!I, Jon Tunheim, Timothy blhitehaar.:1. Sgt. blilkinaan, J.
�Jonwick ;
                                        Oefandar1tfil ,
           each in their eompletG:1 perscmal and prc:ifaaaional capacl tiaa




                                                                  �n
                  Ct..Al'.M FOR RELIEF' FROM ""DAMAGES CAUSED BV TORTS
                                                                    :!;'" 4 • 1515]
                                      _,___._,...........,...,.
        [ us ConatTtut!ori: Amandm11)nte "\j "i \J!II; 18 l.lSt:s..
                                      TABLE OF CONTENTS
                            1. Introduction & Disclaimer
                           2. Toi•ts ( Ground a for- C1.airna)
                          3. Damages ( Grounds fr:,r RaHaf)




                                            Exhibits:
       A. S11.10:rn Mitnase Taatimony of Intent to Kill Plaintiff ( 3. 21 • 20)
 8. Haheaa Corpua Flllng with Proofs of Attempt to Kill & Caver-Up {1.13.20)
                        C. Defendant Raster including Addroaeee
         Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 2 of 121




1. Introduatlon & O:teclaimar

Comes Now Plaintiff, Martin Stanley Ivie, claiming damages and eeeking relief
vie ·this fadsrel Ct>urt from severe torte involving criminal acts of
Constitutional end National importance.

This duly-filed claim contains independent, p:rcrf'aaaicmal and sworn proof a
that, collectively in differing individual capacities, (a) tried to murder
the Pla1.ntiff on the night of 2.9.2012 in cU.rect breach of the �3th Amendment
securities from a:rbitrary de�1r"ivatlon ...of' Life, L.i.berty and Property, { b)
inflicted great bodily harm to him using a State-beued machine gun while he
waa unarmed and violating no lawe in his 0t11n private community, and {c) are
atill exl'.tcuting e fraudulent Stalld.ng-Horea c:over.,.up of their maU.ce,
primarily by meana of a wrongful 1mprieanmant {i.e. usurpation of Courts of
Law) for meda-up crimes that never happenad.

Collectively, each mnd all of the defendants continus to brazenly bt•f!ach HI
uses §§§ 3, 4 & 1515 ( Aecomplicement, Mbpdsicu:1 and Obetruct:i.cn) • from 1.111"11.ch
NO ONE haa immunity.

"!tlHOl!VER, knowing that an offenae against the Uni.tad States hes bean
committiJd, rec1id.vea t :relieves J comfcn:•te or Ernehta the offendor in o:rder to
hinder or prevent his apprehanaion, trial or punishment, ie em Accesaary..
After-The-F'act. 11 - 1a uses §3

 "l!JHOEVER,, having knawledga of the actual commission af a f'etlony cognizable
1.,y a court of the UnJ. te:d States, concaiab and dotH.1 not es soon ee possible
make known thG Bame ·to enme judge cu• other pe1r!Hln in ci v:.U or mU1 tary
authot•ity under the United States, shall be fined under this titla • or
:tmpdeane1d • • • or both. 11 - 1 B uses §4

1 • a DISCt.. AIMER

Thie h NOT a 42 USC §1983 Claim, and ·there are NO 1.ndamn1 ties frc.,m the Torte
deeeribed, l".1.r their coneequencee.

Thia 1a NOT a Writ of HBbeae Carpus .. although criminal deprivation of
liberty, aa plainly art:i,c1Jlated and proven in Exhibit 8, verifies the scope
of total claims herein, lewf1Jl raatrormtion of' Liberty is NOT a ral.1.af' sought
by th:te ecttc:m.

Any misguided, benal or insolent :inference that this auit b eU:her of th1He
other legal actions aei en attempt ta ignore or d:i.a111iss 1t 111Ul be considex•ed
S1Jpplemental Ob�truction of Justice, vh:ilat1ve of 18 uses §1515
(a)(3)(A,B,C,D,E) - 11 Mleleading Conduct".

2. TORTS .. Grounds for Clatma

E'.xhibit A affirms the debauchery and mal1cio1.Je intent of sworn lat11
enforcement off!.cials in Mason Caunty, l�aeh!ng·ton. E'xhibit f3 proves {a) 'the
axecut:ton of these nef'edowa plane, and (1::i) thlit eneuing cover-up by means of
groas fabrication and 't�mpeir:i.ng of evidence, and tH.1urpation of Courts of Law
in order. to propagate the 1.1utrageoue and illegal Stalking Hcrae diversion
that the Plaint1 ff committed crimes on the night. tif 2. 9. 201 2.

    Ivie v. Adame, at. el.                                          paga 1 of 3
             Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 3 of 121




The Grounds claimed harain era exceedingly axiomatic baaed upon the
:1ncc:mtrovert1bl.e f meta in the Exhibita.

A Duly-Ordered Trial by thie Court can only ee:r.ve ta ahock the American
public with dbtu:rbl.ng proof of unfathomable pol.ice brutality and systemic
judicial car tupt!on, all at remarkable expemae to taxpayers.

3. DAMAGES - 1;rounda fcu� ftfJllief'
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F'ot• criminal ac::ta of l"loatil:1.ty ageiruit the PlaintU'f 1:hat cumulate aa
terrific v:tol!ation of the 11 Crual & Ur1usual 11 Clause of Amanchmimt VIII of the
US Canati tuUon, Pla.lnti'f''f herein clainus pecuniar\t relief described in Part 4
next.

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4. RELIEF'
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Exhibit C ccmteina the curran'tly full rr.iste:r of' Oafem:hmts with ccmc.iae
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But     11   Cru�l & Unusual" mmlice le atlll illegal.

Court ahould p1�omptly Ordat" e lcmg--awair,ted Day of Lawful Racl<.on.ing for
dangerous lawbreakers 1i,1ho ayatematically violate '!::he t:rue·t of the f.\mericem
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Raapectfully and Earnestly eubmit·tad under penalty of perjury t:if the Liwti.1a of
the Uni ti!'ld States of America on thi.a fil'2 Day nf .aP,ri.�., ?::.9!Q. by:


        Ivie v. Adams, at. al.                                                        pa�JF.1 2 of 3
       Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 4 of 121




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     Ivie v. Adams, at. al.                                            page 3 of :�
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                           EXMIBH A


     S111orn hlitneea Testimony of Intent to Kill Plaintiff



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                         Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 6 of 121


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Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 8 of 121




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                           111 pages
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Andersen, Lucy C. (DOC)

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                                              U.S. District Court

                      United States District Court for the Western District of Washington

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Case Number:         3:20-cv-05027-RJB-DWC
Filer:               Martin Stanley Ivie
Document Number: 1

Docket Text:
PROPOSED 2254 Writ of Habeas Corpus, filed by Petitioner Martin Stanley Ivie. (NO FILING
FEE/NO IFP) (Attachments: # (1) Transmittal Email, # (2) Filing Fee Transfer Request) **109
PAGE(S), PRINT NEF ONLY** (Martin Ivie, Prisoner ID: 307402) (ERA)


3:20-cv-05027-RJB-DWC Notice has been electronically mailed to:

Martin Stanley Ivie     docscccinmatefederal@DOCl .WA.GOV

3:20-cv-05027-RJB-DWC Notice will not be electronically mailed to:

The following document(s) are associated with this transaction:

Document description:Main Document
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    Other legal photocopies, which require available funds (select one of the following and identify):
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        D Letters to legal entities per DOC 450.100 Mail for Prison Offenders: ____________
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13 :January 2020

Clerk of the Court
United States District Court
Ohtrlct of Western bJaahington
171 7 Par.1i f:le Ava.
TacamR, WA 98402
TRANSMITTED VIA E-F'ILC
SUBJECT:      Hahaea Corpus of Martin S, Ivla
              .......�1!11<�--•1   J   F    )lilllMllllltll���




Daer Clerk of the Court:
Please find following a duly-filed Pati t:lon for Wri1: of Habeas Corpus in
full compliance with 2B uses §2254. Included in this transmittal that
.is aa,:::urar.l under General Order 02-15 are the following 109 total pat1ea:
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Thank you in advance for ymJr l::liligenca in Due Prm::ess f'Uing of 'this
duly-fHed claim for deliverance from crlmlnally-illegal lncarcaretion.
Sincsraly t
                                                 -4�
Martin S. Ivie
cc:   F'BI
                                                        Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 12 of 121

              �                                                                                  REQUEST TO TRANSFER FUNDS
           Department of
                                                                             PETICION PARA LA TRANSFERENCIA DE FONDOS
      Corrections
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Name/Nombre                                                                                                               DOC Number/Numero DOC
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         _ uct sufficient funds from my account to cover the cost&. / Favor de restar las fondos suficientes de mi cuenta para cubrir el costo de:
            -:;, ""? �  LJ         ff I       _        �                                         D Use medical subaccount (eyeglass purchases only)
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Signature/Finna



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Comments/Comentarios

Check Number!Numero de cheque                                                 Date Processed/Fecha procesado

PLEASE ATTACH A SELF-ADDRESSED ENVELOPE/ FAVOR DE ADJUNTAR UN SOBRE CON SU NOMBRE Y DIRECCION
Distribution: WHITE - Accounting          YELLOW - Counselor                               PINK - Offender
DOC 06-075ES (Rev. 7/19/18)                DOC 200.000, DOC 210.060, DOC 380.605, DOC 440.000, DOC 540.105, DOC 590.500
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                                                                                                                                       Page•   .1-
                                       PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF
                                     HABEAS CORPUS BY A PERSON IN STATE CUSTODY
 United States District Court Western                                    District:    IN ASH IN' Q.{tdN
 Name (under which you were convicted):                                                                     Docket or Case No.:
                                  �av-=+� ""-            <.   C-f;.:, n l-e\-__ :I:"v1e.
 Place of Confinement                                                                     Prisoner No.:
                           £i�, . �J              Csee\(_ (?_ Alci_tl-f'c:��01                      �30 '�'-/ (Dz_
 Petitioner (include the name under which you were convicted)            Respondent (authorized person having custody of petitioner)




 The Attorney General of the State of:


                                                                   PETITION




                        bA                 c�c-
                                             �....,-r�l\� _,,.-?t
  1.           (a) Name and location of court that entered the judgment of conviction you are challenging:

                               'a.St,\A.          ��                                      (_�sJ-.V---



               (b) Criminal docket or case m1mber (if you kno�):       l 2.. - i-Yl --b
 2.            (a) Date of the judgment of conviction (if you know):     ( (.   g, {5 (c'3 o11A'E'..,l(Qa.,�)
               (b) Date of sentencing:      I ( . '3 , ( S
 3.            Length of sentence:        2.. { 3        ilVl tr�S
 4,            In this case, were you convicted on more than one count or of more than one crime?           [XI Yes
  5.           Identify all crimes of which you were convicted and sentenced in this case:




 6.            (a) What was your plea? (Check one)

                                     � (1)            Not guilty        D       (3)       Nolo contendere (no contest)

                                     D      ( )
                                             2
                                                      Guilty            D       (4)       Insanity plea
                 Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 14 of 121



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                                                                                                                                        PageJ   2--
               (b) Ifyou entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did
               you plead guilty to and what did you plead not guilty to?

                                                                                                                                                          (




         )     (c) Ifyou went to trial, what kind oftrial did you have? (Check one)

                         [&!Jury        oJuclge only
  7.           Did you testify at a pretrial hearing, trial, or a post-trial hearing?

                         !Z]Yes         DNo
  8.           Diel you appeal from the judgment ofconviction?
                         IZJYes        DNo

  9.           Ifyou did appeal, answer the following:
               (a) Name ofcourt:
                                      ....-tDa, CokJL
               (b) Docket or case number (ifyou know):

               (c) Result:
               (d) Date ofresult (ifyou know):
               (e) Citation to the case (ifyou know):

               (f) Grounds raised:         f • ,�.._,_,-ltt_;'-(!..\'Ce.t:l- t::_>_V\'cQ_�
                                       _:..._____::_
                                                 _            .-   ----------n----------------
                                                                      dG�1,1.,(.i �-' r(!}le

                                       3,
                                       L

               _______::b=- _,_I ____i..c�_::_,_--=---.,��---___:_--=------t+=:..:,_____:__:.:=---"-C-:.-==--o'--j4--.{--_:__:::;,4--�6'--t��<'.'t.¼t(.Ld-­

               ---------'b=-'---' __:.:_::h"'=-�_,__=-'-�---==----1-----==----11--,,'-----==---=----=-='--"-'='-----'l!-='---S<-et.,(_t-��'::!fi
                                                 e)     -.>

                        1-, ,iu ,t'dr•e
               (g) Did you seek further review by a�;er state court.
                         Ifyes, answer the following:
                         (1) Name ofcourt:               Lt)a,
                         (2) Docket or case m1mber (ifyou know):
                                                                   c.;:;:-st        ��r1"eVl.1,..€__       Gvr:/-
                         (3) Result:
                                                       <�'       �'-"'--�""'
                                                        ,.v,etc- �      ��

                         (4) Date ofresult (ifyou know):
                             Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 15 of 121



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                                   (5) Citation to the case (ifyou know):
                                   (6) Grounds raised:




                         (h) Did you file a petition for certiorari in the United States Supreme Court?            D      Yes   �No
                                   Ifyes, answer the following:
                                   (1) Docket or case number (ifyou know):

                                   (2) Result:


                                   (3) Date ofresult (ifyou know):

):                                 (4) Citation to the case (ifyou know):
                         Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions
                      concerning this judgniet)t ofconviction in any state court?
                                                                                                      IV'1
                                                                                           �Yes.
                         '     I



                                           !
            11..    ··If,your answer to Question 10 was "Yes," give the following information:

                         (a)       (1) Name ofcourt:     -�C
                                                           ,,,_,,,.t,.,,
                                                                     )'--'A
                                                                          L...:'!�---::CC:
                                                                                       ·--..,
                                                                                     .,..  · """"'"""""- ---     - --'----------
                                                                                                               - -
     ;:                            (2) Docket or case number (ifyou know):             Ll' c:=t ,S2b -- / ""'- ::ZZ:::.
                                   (3) Date offiling (ifyou know):

                                   (4) Nature ofthe proceeding:
                                   (5) Grounds raised:




                                   (6) Did you receive a hearing where evidence was given on your petition, application, or motion?
                                   !Zlves        ONo
                                   (7) Result:
                     Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 16 of 121


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                   (b) If you filed any second petition, application, or motion, give the same information:

                            (1) Name ofcourt:           Lt) a.        .s:t� $.,.r,e�                G....,,.4-
                            (2) Docket or case number (ifyou know):                        O( G8<2:,fl)---5
                                                                        Z;, 1 2 ,:S , (
                                                                                       d
                            (3) Date offiling (ifyou know):
                                                                  -   -��------,
                                                                      -                  1----.,;::--------------




                            (6) Di_d you re9eive a he:n'ing where evidence was given on your petition, application, or motion?
•                            DYes         �No

                            (7) Result:
                            (8) Date ofresult (ifyou know):                $.b, l9                  �
                   (c)Ifyon'fikd any third petition, application, or motion, give the same information:
                            (1) Name of court:

                            (2) Docket or case number (ifyou !mow):
                            (3) Date offiling (if you know):

                            (4) Nahire ofthe proceeding:

                            (5) Grounds raised:
                  Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 17 of 121



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                                                                                                                                  Page&JI   5
                        (6) Did you receive a hearing where evidence was given on your petition, application, or motion?
                         DYes         �No
                        (7) Result:
                        (8) Date ofresult (ifyou know):

               (d) Did you appeal to the highest state comi having jurisdiction over the action taken on your petition, application,

               or motion?
                        (1) Firstpetition:      �Yes

                        (2) Second petition: �Yes

                        (3) Third petition:     DYes

               (e) Ifyou did not appeal to the highest state court having jurisdiction, explain why you did not:




 12. -    - For this petition, state every grmnid on 'Yhich you claim that you are being held in violation ofthe Constih1tion,
            laws, or treaties ofthe Uriited States. · Attach additional pages ifyou have more than four grounds. State the facts
            supporting each ground.      (..sv . -e
                                              rr
                                                     f .�-d<.; {      n-rf,-.ft  <¥(   8- Ex. h .�b, -fs11


            CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available
                                                                                                                   A-t/,"JI
                                                                                                                  c�              dJ
                                                                                                                                 r\


            state-court·remedies on each ground on which you request action by the federal court. Also, if you fail to set
           .forth ;tllthe g1:ou�clsin this petition,:you may be barred from presenting additional grounds at a later elate.

 GROUND ONE:                 �t- "' 0'i::::\L
                             � � �-




 (b) Ifyou did not exhaust your state remedies on Ground One, explain why:
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 (c)           Direct Appeal of Ground One:
               (1) Ifyou appealed from the judgment ofconviction, did you raise this issue?             DYes

               (2) Ifyou did not raise this issue in your direct appeal, explain why:




 (d) Post-Conviction Proceedings:
               (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                        [ElYes D No
                                                                            £or- D.1�<!'.·+- l:2e.v�eu)-
               (2) Ifyour answer to Question (d)(l) is "Yes," state:
               Type ofmotion orpetition:        �re'-.)v...&�
          l: Name and location ofthe court where the motion or petition was filed:           lu ��  �- ..,-..,.tf'ew<L C£;',)
                                                                                                 - """' �
                                                                                                 "I
                                                                                             -�..,.     ,-     ,        ' r-{. :-
                                                                                                                       •,




               Docket or case number (ifyou know):

               Date ofthe court's decision:                                       6, (:;,. l9
               Result (attach a copy ofthe court's opinion or order, ifavailable):




               (3) Did you receive a . hearing on' ymirmotion or petition?                                   DYes
                                ,                     I
               (4) Did you appeal froni the denial of your motion or petition?                               IZ[Yes
               (5) Ifyouranswer to Question (d)(4) is "Yes," did you raise this issue in the appeal?         [R!Yes
               (6) Ifyour answer to Question (d)(4) is "Yes," state:
               Name and location ofthe court where the appeal was filed:



               Docket or case number (ifyou know):
               Date ofthe court's decision:

               Result (attach a copy ofthe court's opinion or order, ifavailable):




               (7) Ifyour answer to Question (d)(4) or Question (d)(S) is "No," explain why you did not raise this issue:
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 (e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you have

 used to exhaust your state remedies on Ground One:




 GROUND TWO:




                                                                  r��
 (a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
                                                                                                                        h
          Act�al                     .1.,Jl{�c_                                          �,r€t� d sr&s




 (b) ljfyou did not exhaust your state remedies on Ground Two, explain why:




 (c)           Direct Appeal of Ground Two:

               (1) Ifyou appealed from the judgment of conviction, did you raise this issue?             D     Yes
               (2) If you did not raise this issue in your direct appeal, explain why:




 (d)           Post-Conviction Proceedings:
               (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                       lZI            D
                                                                                         �1t
                              Yes              No


                                                    �f:&'-'w.9.s f:e-.-
               (2) If your answer to Question (d)(l ) is "Yes," state:
               Typ,ofmotionocpetition                                                                         :Rev'c:,..J_
               Name and location of the court where the motion or petition was filed:    U. . ·            ·�f'e_lA-Ul. .·
                                                                                                                                     -r-t


               Docket or case number (if you know):

               Date of the court's decision:
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                                                                                                                                   Paget   6
               Result (attach a copy ofthe court's opinion or order, ifavailable):




               (3) Did you receive a hearing on your motion or petition?                                 D     Yes
               (4) Did you appeal from the denial ofyour motion or petition?                             D     Yes
               (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   D    Yes
                                                                                                                        D     No



                                                                                 v"'-c / ae11,:.A�s
               (6) Ifyour answer to Question (d)(4) is "Yes," state:




               Docket or case number (ify u mow):        ...    'j �d\ S-ff ._,, 2...,J /
               Date ofthe court's decision:           r?sJ(av/91
                                                                                               �
    /'.        Result (attach a copy ofthe court's opinion or order, ifavailable):




               (7) Ify�rnr answer to Question (d).(4) or Question (d)(5) is "No," explain why you did not raise this issue:




 (e)           Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you
               have used to exhaust your state remedies on Ground Two :




 GROUND THREE:

          l
  a:.t-"> 0$ \@;,-t,\_
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 (b) If you did not exhaust your state remedies on Ground Three, explain why:




 (c)           Direct Appeal of Ground Three:
               (1) If you appealed from the judgment of conviction, did you raise this issue?           DYes

       ·/,     (2) If you did not raise this issue in your direct appeal, explain why:




 (d)           Post-Conviction Proceedings:
               (1) Did 'you mis� this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
                         �Yes         D        No

               (2) If your answer to Question (d)(l) is "Yes," state:
               Type of motion or petition:
                                                                          ±0e-- :D-�c:t-B-" "aa-
                                                                                                               ��,�\MP- G\)rl-
                                                    �0��\AJ)$
             · : : Name and location of the court where the motion or petition was filed:
                                                                                             6..)a. �:
               Docket or case number (if you !mow):
               Date of the court's decision:

               Result (attach a copy of the court's opinion or order, if available):




               (3) Did you receive a hearing on your motion or petition?                                 D     Yes
                                                                                                                      gJ No
               (4) Did you appeal from the denial of your motion or petition?                            1Z] Yes D No
               (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal? � Yes
               (6) If your answer to Question (d)(4) is "Yes," state:
                                                                                                                       D      No


               Name and location of the court where the appeal was filed:


               Docket or case number (if you know):
               Date of the court's decision:
               Result (attach a copy of the court's opinion or order, if available):

                                                                  peM�e_&
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               (7) If your answer to Question (d)(4) or Question (d)(S) is "No," explain why you did not raise this issue:




 (e)           Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you
               have used to exhaust your state remedies on Ground Three:




 GROUND FOUR:                                               C..�\.> \A.Se
           c� ... e.--i_ .s
  &.\.l ....::::� "                                            �'f'�S"�




· (b) If
       ''
          you did not exhaust your state remedies on Ground Four, explain why:




 (c)           Direct Appeal of Ground Four:
               (1) If you appealed from the judgment of conviction, did you raise this issue?            D Yes         DNo

               (2) If you did not raise this issue in your direct appeal, explain why:




 (d)           Post-Conviction Proceedings:
               (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?

                        D Yes         D     No

               (2) If your answer to Question (d)(l ) is "Yes," state:

               Typo of motioo m petition:
                                                    �.-�-,,,Jls                �-           D..-...tl:: K""' �u.u-
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               Name and location of the court where the motion or petition was filed:


               Docket or case number (if you lmow):
               Date of the court's decision:

               Result (attach a copy of the court's opinion or order, if available):




               (3) Did you receive a hearing on your motion or petition?                                 D    Yes
               (4) Did you appeal fi·om the denial of'y;our motion or petition?·                         � Yes
               (5) If your answer to Question (d)(4) is "Yes," did you raise this issue in the appeal?   @ Yes
               (6) If your answer to Question (d)(4) is "Yes," state:
               Name and location of the court where the appeal was filed:
                                                                                       w �. -St- �\)t Gt
               Docket or case number (if you !mow):
               Date of the court's decision:

               Result (attach a copy of the court's opinion or order, if available):

                                                                    De\A,e.J
               (7) If your answer to Question (d)(4) or Question (d)(5) is "No," explain why you did not raise this issue:




 (e)           Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you

               have used to exhaust your state remedies on Ground Four:
                          \1
                                                             .)   J   J "4\.\l .s


                    (/}
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                                                                                                                                       Page 1#1 t   L..
 13.           Please answer these additional questions about the petition you are filing:
                         Have all grounds for relief that you have raised in this petition been presented to the highest state court
                                               IZf
               (a)
                         havingjurisdiction?          Yes

                         If your answer is "No," state which grounds have not been so presented and give your reason(s) for not

                         presenting them:




               ( b)      Is there any ground in this petition that has not been presented in some state or federal court? If so, which
                         ground or grounds have not been presented, and state your reasons for not presenting them:

                                                      "-lo.



 14.           Have you previously filed any type of petition, application, or motion in a federal court regarding the conviction

               that you challenge in this petition?      [Kl    Yes

               If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, the issues
               raised, the date of the court's decision, and the result for each petition, application, or motion filed. Attach a copy
               of any court opinion or order, if available.




 15.
               the judgment you are challenging?        D       Yes      �No
               If "Yes," state the name and location of the court, the docket or case number, the type of proceeding, and the issues

               raised.
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                                                                                                                                 Page iA, f   3
                                                                                                                                              -

 16.           Give the name and address, if you know, of each attorney who represented you in the following stages of the


               (a) At preliminary hearing:


               (b) At arraignment and plea:


               (c) At trial:



               (d) At sentencing:


               (e) On appeal:



               (t) In any post-conviction proceeding:
                                                                                  Ca.��·e..                               tl.Ot CkJ1ie.;�
                                                                                                         u.*k
                                                                 . ·-e_ · �-,·-
                 SZf!:6 RKt::..$1: ( �• '25� (a£;t{:b 1·                                                            '18l{'b{
                                                             a��-
           . (g}_On appeal from a11y rulin ago/)st you in a p st-conv1· ction proceeding:             ___________
                                          :                  ;                                 _     _
                                                                                                     _
                                    Ca\A,l\-E1l_8                      .



 17.           Do you haye any futu're:syntenci to serve after you complete the sentence for the judgment that you are
               challenging?          D       Yes � No

               (a) If so, give name and location of court that imposed the other sentence you will serve in the future:




               (b) Give the date the other sentence was imposed:
               (c) Give the length of the other sentence:
               (d) Have you filed, or do you plan to file, any petition that challenges the judgment or sentence to be served in the

               future?               D       Yes   D        No

 18,           TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain



                         ts 2Z:5
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                                                                                                                                    Page ii   f   J..{




                                         9Z




 * The Antiterrorism and Effective Death Penalty Act of 1996 ("AEDPA") as contained in 28 U.S.C. § 2244(cl) provides in

 part that:

               ( 1)      A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
                         custody pursuant to the judgment of a State court. The limitation period shall run from the latest of -

                         (A)      the elate on which the judgment became final by the conclusion of direct review or the expiration
                                  of the time for seeking such review;

                         (B)      the elate on which the impediment to filing an application created by State action in violation of
                                  the Constitution or laws of the United States is removed, if the applicant was prevented from
                                  filing by such state action;

                         (C)      the date on which the constitutional right asserted was initially recognized by the Supreme Court,
                                  if the right has been newly recognized by the Supreme Court and made retroactively applicable to
                                  cases on collateral review; or

                         (D)      the elate on which the factual predicate of the claim or claims presented could have been
                                  discovered through the exercise of due diligence.
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               (2)   The time during which a properly filed application for State post-conviction or other collateral review with
                     respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation
                     under this subsection.
 Therefore, petitioner asks that the Court grant the following relief:      Af k;;Ssf·
 f°' )J�                 ,- � ()      ., IA.                                         .;;.s_e__,_ '----..:..___-==--=--='--'-=
                                               u lrlb<1 r.'1.seJ (_('.'.l·v-r--r�-/c-----.:_

 or any other relief to which petitioner m




                                                                            Signature of Attorney (if any)




 I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Petition for
 Writ of Habeas Corpus was placed in the prison mailing system on                     . f 3� 2.(2')       (month, date, year).

                                                                                i,�
                                                                                  I

                           E� p,:;� 'f?,,T,, I                        C?,                       .sccc
 Executed (signed) on              ( , (3, 2-0          (date).




                                                            x�Jh                Signature of Petitioner
 If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing this petition.
    Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 28 of 121




                      IN THE UNITED STATES DISTRICT COURT
                      4" "'5 1�t&µoA1',Ud�· ;ll       f                  •        1       1   IW IN       M          ......n




                   DISTRICT OF' liJESTERN WASHINGTON AT TACOMA
                                 1•1t 111 -'W'l1!1J\11!l'P'   r-tl(QIIWfllilfPf       f          •lllltn 111!ilili   ''°"II llll-1:IIA•-.i·'"*"I,...,...




                    in i�a: Maaon CoL11ity No, 1 2-·1 --64·�6, and
                     Court af Appeals Na. 49526-1-II, and
                State of Maahington Suprr;;,ma r.ou:r.t No. 96f:l6!J--6
                                     Martin S. !via, Petitioner
                                                  v.
                                      Ronald Hiiynas, Defer1dan-t


CrJmas Now Pati'tii:msr, in Good F'aith, timely and af.1pr.opr.ifataly f:tl.ing
this Petition f'or tJJ:d.t of" Habeas Corpus pursuant. to 28 uses ;I 12254 that
is invoked, at least, tt1 atop fraudulent imin:-J.sonmant that is also
herein praven ta be criminally mallcicus in nature.
The Court should note thmt. Plaintiff has exhausted ell State remar.:111::10
for correcrting thasa unjust breaehee of Const:1 tutional La1.11 ( via the
Cause Numbe.t's f'i.re't H.ated in tha heading sbovii, whEn·a the applicable
Lower Court Rulings are harein lncludad ea Exhibit F).


1. Au1;hari ties Cl tad
I. Quaationa of Lalli
II. Introduction
III. Grounds far Dismissal
IV. Conclusion
ii. Apptmrlix of ExhlM:te:
      a. Radio Log
      b. Crimea Scene: Maps wi:th Declaration
           ONE ... Ovarv:taw
            Tl40 � Troe St:t'me
            THREE - Shooting Scana
      c.   Expmrt Ballistic Analysis
      d.   Matice of Court Mtsc:omluct with Juror
      e.   Pati tione:e I a Valid F'orast P1;-aducta HarveatinrJ Pe:r.m:i.t
      f.   Relevant Lower Court Hulings
            Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 29 of 121




                                i. AUTHORITIES CITED
                                  - ii
                                                �




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CASES
                                           1101, 1111 (9th Cir. 2010)
            Costanich v. DSHS, 627 F.3d
                               1070, 1074-75 (9th Cir. 2001)
Davaraaux v. Abbay, 263 F.3d
                                    , 707 (9th Cir. 2013)
Gantt v. City of LA, 7'17 F .3d 702


                               273, 292-3 (3d ctr. 201r+)
 Halsav v. Pfe:iffer, 750 r.3d
                                     185 1 17.L.Ed.2d 690 (196?)
 Millar v. Pata, 386 us 1, 87 s.ct.




  RULES
  �-�"""


  1 H uses §3
  1 s uses §4
  10 uses §§§§1962-1965
                                   VIII 1 XIV
   US Canstitut1an, Amandmante IV,
       Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 30 of 121




1 • le it legally parm:tsaibla for State offidab to use Bpurioue evidence that
is pravan unanimouslv by prcfassiona1 forsm1ir.: analy<Jis to be forged in tlrder
to 'create conviction 1 of a US Citizen?

2. !e it legally permissible for State off.ictals to conce!!!l abusive police
�ctions by charging and convicting a US Citizan for crimes proven to have not
happened'?

3. Is it legally permi:saible for S1:ate officiale to c:ommit p1&rjurv that
diamirtrically opposes polica radio c//illl l1;1g end Prof.sssi�n<Hl 8allbtic
F'Ca."ensic :rtaco:rds 'that we.N� op:iilnly tamps1;'<l'!d with in OJ."ds.1r to fala<;Jly ft>ams m US
Citiwri?

4. ra it legally permias.ibla for st�ts t1ff!t:ials to commit p13r jury by l ving
urn:Jer oath i,.nd conc,1:uilling proof of that ·f'r:eud by 1i.d.thhe.1ld::b1g exculpl!ltorv
police racords and purpoeijfuH y irrt�oduclng pll3r jured Mi.tnees, testimony'?

5, rs it legally permissible for polka off'icers to hillrbcr personal grudg(fls
throughout: a mul ti-\/l!Hil!', documa11tsd history of �1busiva and amb.arr.aseing false
arrests, anti ect i::mt upon that f:rLH.:lt:r.atlcm by ambushing !:'Hi un..r.rmed UE Citizen
in his 011m p.rlvate gated community 1 1,,1hn ia cornmi tting no crimt!i, and shooting
him end his dog in the back with en automatic ses,ml t d fla?
      Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 31 of 121


II.   ..INTRODUCTION
        ... .. .. ,... -------
Plaintiff ie currently serving a 222 month sentence for a5aault.

Tha foundetio11 of this filing is built rm the incontrovarti.ble fact '!:hat State
forged and falsified evidence in o:rtlar to manufacture a w:t.•m·1gful crmviction,
Worse still, overwhelming preponderance of evidence again proves that this
fraud was crafted in nrder to conceal thu alarming criminal abuaee exscutecl by
State officials.

Police febricatir.m of p:rsp:os t;arous Assault chargts as a Stal ld,1,g Hoi:-sa
diversion from 'the truth of their vicious machine-gun ambush on an 1.u1armed mijrt
end his dog is appalling.

Primal to this Cause, Ste'te's c't'imes ara mho compounding. There is no
etatut,i of limi tt?.itions on fraud, and juat tlla u�pE!:i.'most of the alarming
                               r
per juries by Defendant vg:ifit9rl in thh docum,�nt a:r:a mora than tHJfficiant to
overturn the entire scandalous case against PlminUff. Multipli9 counts o'F
m;aterisl perjury are presented sg Cat.la:!1 of tnjm1ct.tcn: Court need only pick
one.

Ralati.ve to restoratit'H1 of tha Plsinti ff ta U.b�rty, ras judicsta:

In tr.itillas v. Pats', 3136 US 1, B7    s.ct.   785 1 1'7.L�Eo.�d 690 (1967), th,a
Supreme Court hmld that 11 the Orn! Process Clauae was violated by the
prosao1.rtion 1 ,s aummertion 111xpreissly relying pr-1 evidence ho introduced that he
f<new to ba false". In cor11::ltinnning this b$hawior, tha 5up:cemwi Cc1urt obsa;r:vad
that, nmore than 30 years ago, th:hi Criurt held tht:it: th� Ft:n..11�·1:eenth f\mendmant
cannot tolt1:?rate1 a St!Bte cdmtnal ct.mviction otrtaingd by thr; l<nt.:11>.1ing uee of
false e,d.dern:::e. There 11M b-m:m rn:1 claviaticn from ttiat estabU.�hed principle.
Thare cen be no r�t:reat from that prl.nd,pl� hitH·0 11 •



The core :tnt1'!int of thia action ie restoution af tha LibP.,:rty of Plaintiff.
P.1:tual evidence p:rovee incontrovertibly th1:,rt hs .i.a not onl')J inr1ocent of the
preposterous c:rimea fox 11Jhic:h hE! temxs:l,na imp:cisoried t but ll:!).so ttiat hie
restr€d:.nt h a f:t>audulent. cnver,-ur., of �,avera maHca that is t.H'ldeniably
crim:tnal in natu:t't�.

The cogent prnnfe that �re ruvt:i,cubrtiscl 13ucdr1c Uy in thie pleading establish
g:roundia for tlia :i.rmnsd.iata dism.hiSal of th� uncl,3Ji'.'ly:tr1g criminal case with
prejudice. Evi&n morsso, tht:! information fH.'Oviclt:id hai:-ein sets the ertage for
to:rt action against c:d.min!all zicto 9'xectl'tter.1 ttundar.· colo!' of 1.!(lW 11•

Police brutality uaed as a i,.iaapi:m ta I e:t!.':iate C.i.'lrn1:J�' in the aftermath is
already well, documenhd in Hsacm County 1 Washingtr::.n ,' USA. ihh latest
insta·Hncs of im,u1:1ct.lte and incomp1a rtent Stata r.:1ffid.al� ca:r:eying tHJt an asinine
ambush of en unarmed clti:zen as a pr rtty v�t'tdetta ia ri.:rt caily sick end wrong,
but it la also illmgal. Actual evidencm orovEs these claime.

Accomp.llee�ent to } and Mlsp:i:it,ir:in of 1 felonv rat-tiempt to mul'der by pria-planned
ambush .era both feknies par 1 B uses §§ :3 & 1+, r1.Hspect1valy. There :is rm
immunity or ind,3r,tnlficErtion fnr anyone from th,rne t:.d.msa, no:i: from the
repetitive caver-uos that violate R,I.c.o. Law, 1B uses§§§§ 1962-1955.

                                     Page 2
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  So, while thia Motion saaka accountability to seminal US Law protecting Life t
  Liberty&: Property, it also doubles as the first accurate Public Record filing
  cf \!!hat really heppenacl on the night of' rebruary 9, 2012 in the primitive
  forest on Dow Mountain in the Lake Cushman community above Hoodsport,
  l!Jashington.

  Accordingly, it also serves es public rmtica via the Court 'that violan't,
  scheming criminals that ara abusing their official positions are loose. In no
  uncertain terms• thees paople ai•e grave threats to domestic: national aecud t.y.
  By due coursa of law, this filing also legally serves ea public notification
  of miap:1:ieion HabiU.tias that accrue daily for all complicit parties.


  !I:!.    GROUNDS F'OR DISMISSAL
           ---   ?.....   �- ----�...--""----·




  Each of the foll.owing State t lfficial.s have inoont:r.ov�rtibly commi'tted one or
  more of the following criminal sets resulting in the illegal theft of
  Plaintiff's Liberty in v'lolati.i:m of' the US Constitution I amendment VIII: pre­
  madi tstad Attempt to Murder under ct1lor -of la11J, tarnpeidng 11.1ith and forging
  fake evidence to recreate the scene of that Ambush and M:tempt to Kill
  Plaintiff, Perjury, Fraud, Ac:compliceroent to, end Misprision of, Felony in the
  form of Cruel & Llnuaud abu$e of Plair1tiff' and Ma canlnill companion.




                                                                                                       I
  'nrt,EJ '14th Amendment prohibits thlil da1ib$riirte fab:rict rticm of evidence by a
  State officielH, as r.:!atsrmined in 'Deveresm< v. Abbl'?.y, 263 f" ,:¼d.1070, 1074 .. 75
   ( 9th Cir. 2001). continuing I nr11ere is a clearly astwhliehed t:cmsti tutional



                                                                                                       I
  dua procaas right net to be lill..lbjsctsd to t�.riminal e:h.argea on ths basis of
  false ev idenca thet wiss delib�l'¢itely feb:ric:atl!lci by the g\'.HternmEmt. 11

  Additionally I Plaint.iff h�r�in fulfills the 1•m:quh:·11.m1ent,.. outli11ed in
  'Costanich v. OSHS t 627 F.3d 1101; 1'111 (9th Cir. 2010)� 11 To y.:n:avail on a
  claim of deliberista fabdcaticm, p1einti ff mu!tlt pr.av� 'l::h�t ('l ) tht:i di:!fandent
  official cleHba:rstaly fabricated evidence 1 �ncl (2) the del.iba:r�ta fab:rtcatio-n
  caual,lJd the plaint:t f'f l s dep:civ:Jrtion of LihJ;;,t'tV. 11

  Considering tha't any single c?-imfoal act deployed by Stata in the malicious
  framf!l! of Plaintiff �hall ras1..1lt in complet� Ce�e Obmhscl with E'.xt:reime
  Pririjud:lt:!S, Plaintiff star.de on ths rei:.ucti tivs wcttS of ct-iminal mll!Uce � and
_ mbprb.iofl_Of them�_ as irrefwlta_bly_ P!,.Cl_Y!!n_il-'J'e_;n_.___________ �------,----�------- _

  Only tha most salient axampbs of these r.:rim�s ere dar6lcribiid b11tlow fo:r each of
  th,i!i msln :respcmsiblf:!l villa!nw, ,!!ach of whoera behavior repr11H:)i'l!f'lts an oLrt:rageoue
  threat ·to thB v 1rtr y s'tP..1bili ty of Ami:tdcan tSoc::.tety:




  Reced w�s msve!.' :'l.n any d.;;}11ger at the Tr,;:;13 Scilimil (Exhibit b. 2) whera h� fir at
  purposefully and maliciously ?irtal!<ad, fo:r at least 28 minutes, Plaintiff,
  before threate:ning him at gunpoint 1.111 thout cause on p1·.tvata property behind
  P lf:d ntiff I a prl va te gatas •

  Oa'eensibly, in just 23 secomis {pet' Radio Log Exhibit s 1 @ 20:33:47 - !Iii!.! is
  u1aaving in a vehicls rt to@ 20:34:10 - Ivie is tt coming right at ma tt ), from the
     Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 33 of 121



time that Plaintiff calmly drove his truck away from the Tree Seema, was
prevented from going home by Adams' pre-planned blockada, Md turned around to
drive in tha direction of the eventual shooting scane4, it is physically
impms�ible that Reed had moved across the Tree Scene debris, and down tha
muddy and l:'Utted accr�as road, a ·total of ovar 125 steep yards.

Reed waa never in any danger of l:.w�ing hit by Plaintiff I s truck because he
could not have been in DDl..u Ridge Road by the tima Plaintiff passed bV the
access road (per Radio Log Exhibit a@ 20:34:35), still just 48 seconde after
Plaintiff laft the Trl9e Scene.

Likewlee, Adams could not possibly have re-enterad his Vi?.hicle end travelled
from his blockade position in time to be within even 200 yerds of Plaintiff's
trt1ck, lat alone so close that Re�d ti.las prohib:!tsd from shooting a't Plaintl ff
for fear L'lf hitting Adams. Re,ed is 1 ying to im1®nt r:Jire \St:ra:l.tt� 1.1h�n thare
ts1erl!! not ( c,1u.rned by Pleinti ff, that is) •

R®ed was nmmr at risk, end hh theatr-icf1 of jumping out of tha mi.ddls of the
:t'oad to nvoid balng :tun 0\/1<!!' e:1l'i.'i,1 hy£ rte:rice.l fiction. Raed had to r.acr1M/Jte the
Tr,J,? Scene arn-J Doiu Ridge Road avent1:1 in order to conceal hie real atte!npt to
trap Pl�:l.rrtH'f 1 .and his i11competsnce in doing that, and fent.eelza about hh
own patheticll!!ll y-corrtt·ived dimger. Th'!,! incorrtrovertible time stamps of tha
Radio Log render Riaed I e account of ev.:mts 1fl'.iniplia, c:riml,,al per jurv.

1
 Gantt v � City cf LA 1    •n
                            7 F. 3d · 702, 707 ( 9th Ci:t:. 201 3) t�gg�d i;ueh 14-th
An,�ndmen-t violatir.:ms as 11 5hocldng to th� Ct,risi;,-:ienca- 11 , end goes on to identify
s1.1ch par jury by State offir:;i.als es 11 Rsckless and MaHeiotH'i 11 •

The peiHca officer w.ith f!.l multi-yea:t• pt1bliciz�d hi�1to:t7v of ha,rus�ing Plaintiff
with false a:rre:ats and insecure hysterics� p0.1:rpt1�t,fully 1St&1L<i:!d PLs'.tr'ltifl" ;�md
inGtigatad the tt'lreataning co11f1;ot'it1atlon tJJ:l th Plaint! ff wh1:J was comm:i. tting no
crirnea ., btrt simply Mt1l'kit'1t;i on r1 emoving fa.lllnt� 5kokoroish \\iati.o,n�wan1ad t.imb�rs
from 1.d thin 'the common I g.,;-aanbal t I arwa oi' his g,at:ed :nisidanti.illl cummuni-t-y in
compliance with Plairrti ff 1 s valid wr1cd-hauU.ng li,;:an;g;:,e.




The onl\ thin              us on                                           :L2_ w1;1a Adams ;1- __ b.illl.---,----------------
    .1.:i.gerant                   c:d.111:tr�al abu-ar,, of a go•-1ernam�nt-iPSSL11:: assault
fi:raarm.

This is a red-U fe hypet' S. W, A. T. taam l!'!ad�r wh� path�ticall.y ®ought
;eccolarl,ea fm: his make-beli.rwe theatric:� r,_1h,sri * :i.n fact j ;nll h;s reall.'tf did was
ambush an unarmed man encl his dog in �rivat!9 waod9 with en AR-·15 machine gun.

 Per Radio Log Exhihi t a @ 2D: :Y+: 35, wh"¾n Ph,irrti ff ci:ruiHt pest 'l:.n� Tree Sc!-llnro
access :r.oad in orde1' to go home a different wav 1 not only wGs Adams nlilv�r even
within 200 yards of Plmintiff 1 e truck (contradicing Raad'o tale) until
 Plaintiff had f;topped to wait 11ei111t·hv thr1 m1antual Shrn:iting Scet1e t,) ascertain
t-.,ho waa a;;;·l.:ually comtng at him on Dew Ridge Road and t,J\iy, but ths m::.tim1 that:
there was a dangert'.ll!S ry miles-long, high-sp9elid chf.isa on t1>eacherous mn1.mt:ain
roads (RP 296@ 24 i 297@. 17, �98 0 R-16, 22, 299 g 24 1 300@ 13, 19, 302@
 21, 304 A 25) le nanaensicet bebble that dafias Nmwtanien phyatcs.
                                            page 4
         Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 34 of 121


Par Radio Log Exhibit E)l, from ©20: 3lt-: 35 to © 20: 36: 24, s total of 1 minute +
49 seconds, Plaintiff I s spe�d could not have bean mm·e than 17 miles P'1lt' hour:

(1 /2 mile) x {1 .82 minutes) :< ( 60 minutee per hour) "' 16. 5 miles p�r hour

Unless Adams has invsrrted soma sort of time travel machine that eluded Albert
Einstein, then the fit"at order of cotrrt bm.1inasa must be insleting that Adams
provide a scientifically valid explanation of just how he was able to refute
Isaac Ne1,rton I s Laws of' Bodies in Motion. Of course, /�dams can do no ::iuch
thing• which is why this enti:re case collapa1;;,,1 under ths 1.i�ight of fables of
the t·ecm,s true t1on.

Adama" not Plaintiff, frantically fabricated M,a own hye-teria by p1..1rsuing a
private citizern in his CibJ!'I pl'ivata mm.1ntai,1 community before faHirig to T­
Bons Plaintiff' 1 s truck e.s Plaintiff tu:.med into what Plaintiff heid no idt:Hi.l
would become the Shooting Scana�

And ws hi\ilv11m I t av>IDn co11¼1 tc thta n,;1cl:ls•. yet, ert 'the ShtH:rtlng Sr.::�nei wht'il'ttt th� ·
fever-pitch insanity goes AWOL. Exhibits b.3 Shooting Scene, and c. Expert
BalUi::i'tic Analysis, page ·1 s, i::on·ta:tn th,? plt::·tu:i;·,.•r6 uio:rth a ·chouswrid wot•de. By
proven fact ais �xpres�s@d by 'the iJMLV au:thentlc be,illbtics e:iq:..�.i:t irivolvr1'ld in
'th.ts caae ( K!:'iF), Adams bieillig1E!'a1-rtly tBnd in an umu�rr.rH1tsid att1l!m1pt to kill,
shot both en un!li:rmed man and hb dog at laaa-t 8 timera wi. th an AR�15 �!�se.mH
ri. fla, including 2 failed tdll ahote to Plaintiff's head after Plaintiff h1aa
unconsciom1 in a rf!l•;ine.

Str1ta' s inr.:ompatf<mt and fcrrgacl ballhtlc·2 tee Umi:my is. in 'the.! exact 1;i10:rds of
the only prrJfasstonal �xpart 1 ncoMl'JUtTEL v cmxrn.�Hv n to ·t·&al.i.tv {Exhibi't c,
page 5, lina ?) • Aclam'S lied to conceal the h·,,;th abi:iut his !:iarber:ir.; lunacy.

 No eH,maibll'l cancept of ord>aJ.'ed Htnl!:rty is ci:lm!lbtent 1i.1i th l.ew snfo:t"cement
11

cooking up i 'ti!! Oii.ln avltlenci,1 11 • as da'tl:lt'minllld iti ll+slsey v. Pfeiffer 1 • 75D r. ::ici
273, 292-3 (3d. Cir. 2014).

From Adams 1 t111:iated perepactive, his bit;g�e.t mbtal<a was that he didn I t finish
ths job. Bai:Hi!tl1\'ll:'J Plaintiff ,rm1·viviacl, Ad ems & Co. had to cont:d.1Je a fel6a
accou1"1ting. From the prithi,rttc fr:d.l.ad effi:u::i: to b:roadatde Plaintiff' is truck
with a polic:.a vahiole, tc the emauing story about Adams I fairy-tale nsad to
fi�a. of:E _8. :ro.1...mds_oj' :;'n1..ioai:· _ :r.J.fle �mmuri1 tinn._at..._J1!J__u1;1E;Ll:_\'llllcLc-i.M;il..isll..-.aim�l.'fea
                                                                                                                            �l,---·=· =�=,
trying to go homa J to the :i.rreifutiab1'1:l fact that Adamij shot Plaintiff from
behind the 'tiuck and tottlllly invf1rrted the 1 'fear of being 11 squishet:J iH (RP 320 (i,j
23), Adams is out of control.

This malevolent, criminal per jury worked in local and State cou:rts
ayatamically cont:t•ived to ci:.Nar 'tha e.cam.

But Plaintiff did survive, as do ·cha facts in t!'llth 1 and Truth is alwsvs
grlllater' than li.et.

Ths jig is up. It I s r..inl y a matter of tims until an unbiai,ed tribunal is
manifest. The facts era simply too overi.1Jh�lmii'!g, (Mean1.:Jhils, yes, thlr1
dm::umant ia an Official Public Rscord �Jotification th<11t ,A.dam$, et. al. 1 has
tried to kill PJ.alntiff once. and Mispddon UebiUtiee ti.Jill acm.·u� lB1dlf}l' Law
if he tries again).
                                                         page 5
      Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 35 of 121




By all accur-ata accountr;, Adams 1 sipastic behavior arid ensuing par.ads of liea
to hide thITT truth of his in'>'lsr.i ty xapr.S}aimts a dire threa1t to the eafaty snd
etabili ty of Amarican society. Tha haro-prat,md is a Cl'iminally malfeasant,
out-of-contrnl liar and manaca with a rn:achina gun.




The only thing this chameleon lead investigator ov�m raseatichti!d w�, how to
ccmceal truth. Inctm1petem::e and int-,)xped!:lrice might ba acesptebla alibis in
State of hlaahington cour·t:s I but Simp,'.:n· 1 Ci burial end alternation at' evid'Snc� is
so b.latant that it cannot pase unbial'lad eicrutiny.

Simper commits seriou11 perjury 1;1han ha tssti fled that he w-�a niYt involved with
biased, prameture chargir1g of PleJ,ntif'f with i:nultiple asssul'ta wl"H?.n t in fact,
hia did recommrS1nd tha p:r.e-charg"1 of Platnti ff in tha fixed casa before aveM
receiving rudirnantary avictences (Thurston Cm.ini;y She:d.ff 1 a R·aport, 2 .1 a ;12 r
Yelloti.1ha'Wk Road, f.:t-:1se No. 'l2�738, :5 pagn�).

Suppression of a·<1ider1e::e 'that i11c:rimir1at!!:ls the bad 5-t.:ata actorG vli:J111rt,is
longr:;tanding r..:omman s;i;irH�a i)VitleJnc� rulss, im.::lmU.ng HJ uses §§ 3 flt 1,, frnm




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whic:t1 NO ONE nae irtd'/3mni ficetirm.



As if it ehrmld JBven l:Ha n.scensary in light ot" tha t:lbvinua hyji.nx of evidence
tampering, Simper shall inavitatily be trapµad by Man:famuti accountatiili'ty ta
the following i!'l)<eulpmtory racords th/:Jl: h� purpo::.nfuUy p,!;H.·'ticipatod in
concealing;;

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                    Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 36 of 121


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                              ii. APPENDIX
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 4

 5                           IN THE SUPERIOR COURT OF WASHINGTON
 6
                                       .FOR MASON COUNTY
 7

 8   State of Washington,                              Case No.: 12-1-00064-6
 9
                        Respondent/Plaintiff
10                                                     DECLARATION OF KAY SWEENEY
11
                        v.

12   Martin S. Ivie,
13
                        Petitioner/Defendant
14

15         I declare under penalty of perjury under the laws of the state of Washington

16
     that the following is true and correct to the best of my knowledge:
17
           1) I am a forensic scientist and the principal forensic scientist for KMS
18

19             Forensics, Inc. an independent laboratory and consulting enterprise. My
                ·- --         - -      . ·--   -- --     --·--.,-··-- . -·---- -=· -·----·.- _-·--·--------- _ •--�----------_ ·------·-··--_ -----,- --- - ---
                                                                                                                                                     -
               Curriculum Vitae is attached hereto which outlines my professional
21

22             training and associations, employment, experience and credentials.

23
               Among the positions I have held in over 50 years working as a forensic
24
               scientist are state-wide Program Manager for the WSP Crime Scene
25

26             Response Team, Crime Laboratory l\Aanager for the WSP/CDL Seattle,




     DECLARATION OF KAY M. SWEENEY
                                                                                      In re Ivie, App. 1
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                   ChiefCriminalist for the WSP/CDL in Seattle,Crime Laboratory
       2
                   Director for the King County Sheriffs Office and Criminalist for the
     ·3

       4           Seattle Police Department's Crime Laboratory. I have taught, consulted,
       5
                   made numerous presentations, and conducted research in forensic science
       6

       7
                   and in particular in the area of crime scene reconstn1ction to include

       8           bullet trajectory identifications and documentation. I have been asked to
       9
                   consult and conduct laboratory examinations and analysis of physical
      10

      l1           evidence in numerous cases involving the complex evaluation and
      12
                   interpretation of crime scenes where :firearms have been dise:harged. I
      13

      14
                   have testified as an �yert-�!�ess in State and FederalCourts throughout

      15           the State of Washington and in several other states.
      16
                2) I am familiar with the Total Station Mapping System as I was the
      17

      18           manager for the vVSPCrime Scene Response Team and responded to
      19
                   crime scenes and supervised the processing of crimes scenes where this
�=- 20- --- ·

      21
                   equipment was employed.

      22        3) I was asked by Mr. Ivie's post-conviction attorney to review evidence
      23
                   related to the F ebniary 9, 2012 shooting that occurred on Dow ]\,fountain,
      24

      25           Washington that resulted in Mr. Ivie being charged in MasonCounty
      26




           DECLARATION OF KAY M. SWEENEY
                                                                      In re Ivie, App. 2
           Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 47 of 121



              Superior Court with several charges to include Assault First Degree
· 2
              involving Mason County Deputy Adams.
 3

 4         4) I was provided with crime scene and evidence photographs, computer

 5
              generated diagrams prepared from use of the Total Station Mapping
 6

 7
              System, trial testimony, and witness statements and police reports froni

 8            the :Nlason and Thurston County Sheriffs Office. I was also provided
 9
              with a report prepared by a defense firearm consultant Marty Hayes. I
10

11            was also prov1ded with Mr. Ivie's medical records, photographs of his
12
              bandaged injuries, and his hospital x-rays.
13

14
           5) Mr. Ivie's truck was no longer available for examination as it had been

15            destroyed. The firearm employed by Deputy Adams was also no longer
16
              available as it had been placed back in service. However, I was provided
17

18            with police produced photographs both from the crime scene and police·
                             ---
                                            ----                             ,-



19
              impound area which showed the damage and bullet defects to his vehicle.

21
           6) I was also able to laboratory ex�nations and analysis of the clothing

22            1\1r. Ivie wore at the time of the incident.
23
           7) 1 was specifically asked to examine the available evidence and offer an
24

25             opinion regarding the bullet trajectory from shots fired by MCSO Deputy
26




      DECLARATION OF KAY M. SWEENEY
                                                                In re Ivie, App. 3
          Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 48 of 121




 1            Adams and the relative positions
                                       -·· of Deputy Adams, Adams patrol car,
                                .,,.,.--·-
 2
              and Mr. Ivie's vehicle at the time the shots were fired.
 3

 4         8) A detailed report of my review and examination of the evidence is

 5
              contained in the attached POST CONVICTION LABORATORY
 6

 7
             REPORT.

 8
          9) Based on my review of the evidence made available to me, Deputy
 9
             Adams was not in the direct line of travel by Mr. Ivie's truck at the time
JO

11           any of the eight shots were fired. Figures 19 and 20 of my report
12
             document my opinion regarding the positioning of Deputy Adams, his
13

14
             vehicle and Mr. Ivie's truck at the time Deputy Adams fired. Figure 19

15           documents my opinion regarding Deputy Adams location when he fired
16
             the first volley of four shots. Figure 20 documents my opinion regarding
17                                                                                              I
                                                                                               I
                                                                                              II
18           Deputy Adams position when he fired the second volley of four rounds.
19
           10) When Deputy Adams fired the first volley-of shots he was positioned in


21
              front of, and slightly to the left of the hood of his police vehicle and to

22           the left of Mr. Ivie's vehicle and approximately even with the driver's
23
             door of Mr. Ivie's truck.
24

25         11) When Deputy Adams fired the second volley of shots he was positioned

26
             directly in front of the driver's side of the hood of his vehicle. �Ir. Ivie's



     DECLARATtON OF KAY M. SWEENEY
                                                                   In re Ivie, App. 4
           Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 49 of 121




              vehicle was well past the rear of Deputy Adams vehicle and down the
 2
              wooded embankment.
 3

 4         12) Police photographs and diagrams depicting the trajectory of defects #3
 5
              and #4, included in my repo1i at figures 6 and 9, are grossly inaccurate
 6

 7
              and completely contrary to the morphology of those �wo defects. The

 8            police photographs of the trajectory for defects #3 and #4 appear to show
 9
              the trajectory as from front to back at a shallow angle when an
10




                                                                                            I
11            examination of these defects clearly shows that the bullets that created
12
              these defects came from back to front. Figures 12 and 13 of my report
13

14
              show the distinct characteristics of defects #3 and #4 which support my

L5            conclusion that the trajectory for these defects was from back to front,
                                                                        / "-      /�,.,.
16
              and not fr,9Ut to�£!< as the police demonstration and digram depicts.
17

18         13) At the time the bullets that created defects #3 and #4 were fired, Mr.
19
              Ivie' s truck was over the embankment and well past Deputy Adams' car.

21         14) The position of firearm discharge that I have indicated in figure 20 is an

22            ideal position for direction of fire through the right glass panel of the
23
              three panel rear window and out the passenger's door window.
24

25         15) If called at a trial or hearing in this case I would provide testimony
26
              consistent with this declaration and my report attached hereto.



     DE CLARATYON OF KAY M. SWEENEY
                                                                   In re Ivie, App. 5
           Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 50 of 121


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     DECLARATION OF KAY M. SWEENEY
                                                         In re Ivie, App. 6
                        Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 51 of 121
                                     KMS FORENSICS INC
                                     PO Box 2458 - KIRKLAND, WA 98083
                                     phone & fax = (425) 814-3244




           Peter Camie!, Attorney at Law
           2101 Fourth Avenue, Suite 1900
           Seattle, WA 98121


           Re: State v. Martin S. Ivie; Laboratory #2kl6-010; Cause #12-1-00064-6


                                           POST CONVICTION LABORATORY REPORT


           Brief Background:

             Court records record that on the night of February 9, 2012 MCSO Deputy Reed hid near a downed maple tree
             waiting to see if someone would come to cut it and take wood. Martin Ivie arrived at approximately 8:00pm in
             his Dodge Dakota pickup. Reed confronted and tried to arrest Ivie. Reed and Ivie knew each other and Reed
             knew where Ivie lived. Ivie told Reed he intended to take his dog home and that Reed could come arrest hin1 at
             his home. Over Reed's objections, Ivie got in his truck and drove off. In the meantime, MCSO Deputy Adams
             was coming up the road in his police car to back-up Deputy Reed. Adams, upon hearing by radio that Ivie was
             headed his way, stopped his car and exited with his assault rifle. Ivie apparently saw Adam's car's lights,
             stopped, turned his truck arotmd and headed up the road where Reed had been following him on foot. Reed
             claimed that Ivie drove right at him and that he had to jump out of the road to avoid being hit. This formed the
             basis for count 3, Assault First Degree. Adams pursued Ivie up the winding narrow dirt road for miles. At one
             point Ivie, after making a right turn, began to back up. Adams braked and the two vehicles made contact This
             contact formed the basis for count 5, Assault Third Degree. Ivie then took off again. Ivie drove to a landing at
             the end of the road near an unoccupied trailer. Adams drove up to the landing but stopped his car just short of the
             landing and got out with his assault rifle. Adams claimed that Ivie made a turn with his truck and drove directly
             toward Adams. Adams claimed he ran to his right to get out of the way and at that moment frred four shots at
             Ivie, followed by four more shots as Ivie drove past hin1. This formed the basis for count 6, Assault First
             Degree. Shots from Adams' assault rifle struck Ivie and his truck crashed down a wooded bank and came to a
             stop. Ivie had sustained a number of bullet wounds-all to the back side of his body. Emergency medical
             technicians arrived and transported Ivie to Mason General Hospital (MGH). The attending surgeon at MGH,
-=··-···· .._fohn Shor1:, M.D., transferred h�kJo Tacoma O�nernl H9syitat(TGfil late that night Februi!n: 9th . On Febrm1ry
           l011', at approximately 1 2:15 p.m., two investigating law enforcement officers interrogated Ivie, who was under
             guard while in the TGH Intensive Care Unit. At trial the State introduced exhibits including demonstrative
             photographs of the bullet holes in the driver's side of Ivie's truck with rods of different colors placed to depict the
             trajectory of the bullets fired by Adams. Those photographs along with computer-generated diagrams depicting
             the bullet trajectory were based on the claim and purported to demonstrate that Ivie had been driving at Adams
             and that Adams had initially fired his weapon as Ivie was driving toward him.

           I have been asked to review selected information and materials relating to the above identified case in an effort
           to reconstrnct elements of the shooting to the extent possible based on the available information and materials.
           To that end I have reviewed scene diagrams and several photographs taken by police investigators and I have
           conducted laboratory examinations of a limited number of items of physical evidence collected and preserved by
           law enforcement investigators.

           While assigned to the Washington State Patrol, Crime Laboratory Division (WSP/CLD) Headquaiters I was


       KMS FORENSICS INC                                                                                      Laboratory #2k 16-010


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       charged with the duty to form a state-wide WSP Crime Scene Response Team (CSRT). My CSRT duties
       included the design of the CSRT program, development of training for team members, writing of a WSP
       Regulation Manual chapter defining CSRT role and operation, writing WSP Training Bulletins detailing CSRT
       :function, writing announcements for distribution to law enforcement agencies relative to services available from
       the CSRT and protocols for call-out, and coordinating all activities of the CSRT including receiving all calls via
       pager, dispatching customized teams for response to scene assistance requests, responding in person to scenes
       and managing the activities of team members on the scene. Many of those scene responses required the
       documentation of the scene by total station techniques and the use of those techniques and their results were part
       of my responsibility. The subject case of this report involves such evaluation and interpretation.



       Photographs depict a bright blue Dodge Dakota extended cab, two door, 4x4 pickup in a wooded scene, off road
       and against or next to brush, trees undergrowth and disrupted soil; views include a dirt roadway running to a
       parked fifth wheel mobile camping structme and associated yard improvements along with a police vehicle
       parked on the dirt road leading to the camping structure. Tue Dodge Dakota pickup was reportedly being driven
       on the scene by Martin S. Ivie.

       A scene diagram prepared by police investigators is apparently intended to essentially depict the position of
       vehicles, fifth wheel camper, expended cartridge casings, broken glass, other objects and tire tracks of the Dodge
       Dakota pickup's travels (See Figure #1 ). This diagram and investigative reports show and describe the Dodge
       Dakota pickup approaching the scene property along the dirt roadway and coming to a stop adjacent to the
       camping vehicle (fifth wheel) where the road ends. The Dodge Dakota pickup's tire tracks arc from the dirt road
       into/beyond the road end for approximately 70 feet but this diagrammed arc does not connect to tracks that
       proceed away from the arc. The pickup tracks leading away from the arc are diagrammed as beginning near the
       end of the arcing tracks and proceed back toward the parked police vehicle by crossing the yard of the residence,
       crossing the dirt road behind the parked police vehicle and continuing in nearly a straight line into the woods
       below (in elevation) the level of the dirt road. The left side tire track of the pickup passes within just over three
       feet off the rear left bumper end of the parked police vehicle and the tracks are diagrammed as traveling
       approximately 105 feet from start to finish. The pickup obviously side swiped at least one sapling sized tree
       causing loss of bark to the tree and exterior sheet metal buckling of at least the left front fender, the left side door
       and left side quarter panel and the driver's side outside mirror appears to have been recently forcibly removed.
       A side view mirror was photographed on the ground somewhere along the path of the pickup into the woods; the
       mirror does not appear on the diagram and it apparently was not given an evidence scene marker number nor
       was it collected as evidence. Scene photographs depict the pickup with glass missing from the driver's door, the
       entire quarter side window to the rear of the driver's door, from a portion of the right window pane of the three
       pane rear window and from the passenger's side door. Apparent bullet impact/passage defects are depicted in
       the driver's door sheet metal, left side quarter panel sheet metal and passenger's door sheet metal.

       At least two areas of significant broken auto side window type glass deposits ·were documented by photographs
. c-
       and in the diagram. One deposit is noted to the right side of the trncks left by the pickup truck at a point
                                                                                                           = ===
       approximately 20teet from llie start pomt of'sfraigfiTTfneTrack clep1ction tfiat endsm th- e wooasan""a= - ���=�==
       approximately 20 feet from the driver's side of the parked police vehicle (See Figure #1 ).

       The other glass deposit is documented in the diagram as being on the ground between the right and left tire
       tracks of the pickup at a point approximately 44 feet from the start point of the straight line track depiction that
       ends in the woods. The position of this deposit measures approximately five feet from the left rear bumper end
       of the parked police vehicle (the closest point in measurement from the police vehicle) (See Figure #1).
       Photographs show a deposit of broken window glass between the left tire track of the pickup and the left rear
       bumper end of the parked police vehicle where the glass deposit extends under the left rear bumper end of the
       parked police vehicle (See Figure #2).

       Two groups of eight total expended cartridge casings are depicted in photographs and on the diagram of the
       scene (See Figure #1 ). One grouping of four casings occupies an area of approximately 8.5 feet by 2 feet on the



 KMS FORENSICS INC                                                 2                                     Laboratory #2kl6-010


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          ground and the other is a linear grouping of four casings occupying an area approximately four feet long. The
          groupings are a little over seven feet apart at their closest boarder.

          A diagram that is apparently meant to represent the bright blue Dodge Dakota pickup was also prepared by
          police personnel and it includes apparent bullet trajectmy lines and a scale (See Figure #9).

          The scale included on the diagram of the scene is off/inaccurate (See Figure #1). When compared to the scale
          of the pickup, the scales are equal at five foot increments, however the scene diagram's scale has equal
          increments for one foot, two foot and three foot spacing but the length of the increment for the four foot spacing
          is larger. It appears that the one foot through three foot marks are too close together and the distance between
          the three foot and four foot marks is made larger to accommodate for the inaccurate shorter distance between
          the one foot through three foot marks. The same discrepancies are noted in the five foot to ten foot markings.

          Injuries:

          Martin S. Ivie is described in the Washington State Driver's License that he carried at the time of this incident
          as 6 feet 3 inches tall and 255 pounds in weight and photographs taken of him in police custody suppmi that
          data.

          Mr. Ivie suffered bleeding injuries to the back of his head, his upper right back between his spine and his right
          shoulder, his lower left back, and the back of his left forearm near the elbow (when viewed from behind Mr.
          Ivie while he is standing with his arms extended down along his side) (See Figures #3 and #4). All injuries are
          covered with bandaging as depicted in photographs. No photographs of open wounds were submitted to this
          laboratory. X-rays of Mr. Ivie's upper torso show a distribution of radio opaque particulate in his right upper
          back area.

          Evidence Examination:

          Item: One Bushmaster Model XMJ 5-E2S, .223 caliber rifle; vvas reportedly fired on the scene by Sgt. Adams
          and was the only firearm discharged on the scene. This firearm was not available for examination and analysis
          by this laboratory, however a witness during police test firing of this rifle determined that when fired it
          discharged expended cartridge casings to the right to a distance of approximately twelve feet.

    Item: One bright blue Dodge Dakota pickup with Washington State License plate # B76920H; was transported
    from the scene to police storage where it was examined and documented by police personnel. The pickup was
    later released to local fire department personnel who ultimately subjected the pickup to several set fire
     experiments/exercises. The pickup was therefore not available to this laboratory for laboratory examination and
     analysis. The vehicle was photographed both at the scene m1d while in police custody. Those photographs
     depict si gnificant quantities of apparent volume blood deposits (such as from actively bleeding wounds) on the
     driver's seat area (both seat bench and back support sections), on the clothing item on the driver's seat back, on
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     driver's seat; apparent contact transfer blood staining on most all of those same areas; and apparent blood
     smearing on most all of those same areas. Contact transfers, smearing and volume apparent blood deposits in
     the rear seat area also include fine wispy streaks typical of bloody hair brushing against the deposit surface.
     Two such areas appear on either side of the left side quarter window opening and on the plastic above the
     driver's side seat back area of the seating behind the driver's position (See Figure #5).

          Missing window glass was noted in the driver's door, quarter side window on the driver'� side, right panel of
          the three panel rear window and the passenger's door window. A significantly larger amount of glass is
          missing from the pickup's broken rem· window panel as depicted in the police storage facility than depicted at
          the scene.

           Driver's door window glass observations: Photographs of the pickup at the scene show a large amount of glass
           on the driver's seat and driver's floor.



      KMS FORENSICS INC                                             3                                    Laboratory #2k16-010


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   Driver's side quarter window glass observations: This window is a flipper style window with a vertical hinge at
   the front edge allowing it to be opened at the rear edge by release of a clamp style mechanism attached to the
   glass by a Phillip's head through bolt. The window is thus frameless and seals against the outside environment
   by pressure, when clamped closed against a rubber weather strip that is mounted completely around the quarter
   window opening in the cab sheet metal. Photographs depict a small amount of glass in the clamping closure
   mechanism of this window at the through bolt mount and at the vertical hinge site but otherwise the entire
   window pane is missing. Scene photographs depicted heaped materials on the inside of the pickup behind the
   driver's seat and therefore covering the rear seat bench and seat back in that area and no broken glass can be seen
   in that area meaning that no interpretation can be made about whether there was broken glass in that area or not
   at the scene. Police processing photographs depict the seating in that area before removal of all covering objects
   and a small amount of broken glass is visible on the left side seating area and on a potiion of the covering objects
   in view. One photograph depicts a limited section (center left) of the floor in the left rear seating area and no
   glass is visible on he floor in that view.

   Right side panel glass of the three glass panel rear window observations: A vertically oriented (with a backward
   slant as depicted both at the scene and in police custody) venetian style structure of horizontal steel slats welded
   to vertical rods is depicted in the bed of the pickup. This venetian style grillwork is noted to be essentially
   covering and protecting the rear window glass from impact by objects carried in the bed. The horizontal slats are
   spaced such that small objects, such as bullets, could pass through without impacting the slats. No damage is
   noted in photographs to the exterior of this strncture and the interior of the structure is not depicted. A
   photograph taken during police processing of the pickup shows one apparent window glass fragment in the bed
   of the pickup near the vertical slatted structure covering the rear window. A significant amount of broken glass
   is depicted on the right rear seat bench, below the broken window.

   Right side door window glass observations: A rounded hole with protruding ragged edges typical of bullet exit
   in sheet metal is noted just below the bottom edge of the window opening in the right side door. A significantly
   smaller amount of broken glass is depicted inside the pickup on the right front passenger's seat and on the floor
   in the same area than was noted on the driver's side.

   Photographs taken during police processing of the pickup depict a small number of window glass fragments
   positioned on top of the passenger's side dash above the glove box and near the center of the dash at the
   windshield. Scene photographs show a thick stack of papers on the dash above the glove box with broken glass
   on top of the papers.

   Bullet impact and passage defect observations: Several fired bullet impact sites are obvious in submitted
   photographs of the bright blue Dodge Dakota pickup and they were apparently arbitrarily designated with
   numbers 1, 2, 3, 4, 6, 7 ,8, 9 and 10 (See Figures #6, #7 and #8) with number 5 assigned to the right rear window
   of the three window sectioned rear window which was obviously believed to have been broken out by gunfire.
   All t:i:!l!_lleric.�l lab�ling_indgded a_ tylo in_ch_ _ scale wi!h a numernl :µan_d written in�ack ink on_the scale. 'Ip.e __ -- __
   scale was placed directly under the defect in all instances so that scales placed on the left exterior of the vehicle
   would align with the left end of the scale toward the front of the vehicle, scales placed on the right exterior of the
   vehicle would ali gn with the right end of the scale toward the front of the vehicle and so on. Observations stated
   in this report will refer to the numbering system as designated above. Photographs taken by police investigators
   depict bullet impact/passage defects and in addition, defects #1, #2, #3, #4, #7 and #9 include bullet trajectory
   probes apparently intended to demonstrate direction of travel of bullets as they entered various parts of the
   vehicle. The trajectory angles represented by the photographed positons of these probes were then transferred by
   police investigators to a diagram of the pickup using five red lines entering the vehicle's left side with one
   continuing on to exit the right side of the pickup (See Figure #9). The following interpretations can be made
   relative to these trajectory lines considering their entry points into the left side of the vehicle and moving from
   front to back;




KMS FORENSICS INC                                                   4                                        Laboratory #2k 16-0 l 0


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   The first line is apparently meant to depict a bullet entry into the driver's door (left to right relative to the
   centerline of the pickup) at defect #1 that exits the interior driver's door panel at defect #6 where it continues on
   passing through the interior of the vehicle until it enters the interior door panel of the right door at defect #8 and
   exits the passenger's door at defect #7. The bullet trajectory is defined as left to right and slightly front to back,
   in other words slightly off a 90 degree (perpendicular) entry.

   The second line is apparently meant to depict bullet entry into the vehicle through the driver's door window (left
   to right relative to the centerline of the pickup), pass through the interior of the vehicle and impact the front
   passenger's seat belt point of attachment to the upper interior right side cab structure at bullet defect #9.

   The third line is apparently meant to depict bullet entry into the driver's door at defect #2 (left to right relative to
   the centerline of the pickup). The bullet trajectory is defined as left to right and slightly front to back, in other
   words slightly off a 90 degree (perpendicular) entry.

   The fourth line is apparently meant to depict bullet entry into the driver's side quarter panel at defect #3. The
   bullet trajectory is defined as left to right relative to the centerline of the pickup and front to back approaching at
   a shallow angle.

   And the fifth line is apparently meant to depict bullet entry into the driver's side quarter panel at defect #4. The
   bullet trajectory is defined as left to right relative to the centerline of the pickup and front to back approaching at
   a shallow angle.

   Bullet defect #1 observations: This is a round, approximately 1/4 inch diameter hole in the driver's door exterior
   at a point approximately 2 inches down from the window opening and approximately centered between the front
   edge of the door and the back edge. The edge of the hole oriented toward the rear of the vehicle has an
   irregularly shaped raised lip extended outward from the exterior surface of the door sheet metal with the rest of
   the hole margin bent inward; these characteristics are typical for bullet entry and the raised edge of the hole
   toward the rear of the vehicle is a characteristic of bullet entry along a trajectory from front to back relative to the
   length of the vehicle (See Figme #10). The angle of trajectory for this defect is front to back with a small angle
   of deviation, from a 90 degree (perpendicular) entry into the left side of the vehicle (large angle, but short of 90
   degrees, with respect to the side of the vehicle). Apparent tree bark is present on the ragged, raised metal lip.

     Bullet defect #2 observations: This is a round, approximately 1/4 inch hole i.n the driver's door exterior at a
     point approximately 10 inches down from the window opening, directly below the driver's door handle and
     approximately 7" from the back edge of the door, The edge of the hole oriented toward the rear of the vehicle
     has a raised lip extended outward from the exterior surface of the door sheet metal with the rest of the hole
     margin bent inward; these characteristics are typical for bullet entry and the raised edge of the hole toward the
     rear of the vehicle is a characteristic of bullet entry along a trajectory from front to back relative to the length of
     the vehicle (See Figure #11), The angle of trajectory for this defect is front to back with a small angle of
     deviation from a 90 degree (perpendicular) entry into the left side of the vehicle (large angle, but short of90
   .                                                       . ... . . . �---------
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   Bullet defect #3 observations: This is an oblong, approximately 1&1/8 inches long, irregularly shaped hole in
   the driver's side exterior, quarter panel sheet metal at a point approximately 10 inches down from the quarter
   panel window opening directly above it, and approximately 10 inches to the rear of the vehicle from the back
   edge of the driver's door, Exterior sheet metal in the area of this defect has been irregularly reshaped by impact
   most probably from contact with a tree or trees. The edge of the hole oriented toward the front of the vehicle has
   a ragged raised lip extended outward from the exterior surface of the quarter panel sheet metal and a gaping hole,
   the length of which is oriented toward the rear of the vehicle, that has one edge burnished in a manner typical of
   bullet skid; the rear end (toward the back of the vehicle) of the oblong hole consists of a tab of metal bent inward
   away from the exterior surface; these characteristics are typical for bullet entry at a shallow angle relative to the
   surface of the metal, and in this case along a trajectory from back to front relative to the length of the vehicle
   (See Figure #12). The angle of trajectory for this defect is back to front with a large angle of deviation from a 90



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                  degree (perpendicular) entry into the left side of the vehicle and a small angle with respect to the side of the
                  vehicle.

                  Bullet defect#4 observations: This is an oblong, approximately 3/4 inch long fairly uniformly shaped hole in
                  the driver's side exterior quarter panel at a point approximately 24 inches down from the quarter panel window
                  opening and approximately 18 inches to the rear of the vehicle from the back edge of the drive's door. Exterior
                  sheet metal in the area of this defect has been irregularly reshaped by impact most probably from contact with a
                  tree or trees. The edge of the hole oriented toward the front of the vehicle has a ragged raised lip extended
                  outward from the exterior surface of the quarter panel sheet metal; and a gaping oblong hole oriented toward the
                  rear of the vehicle; the rear end (toward the back of the vehicle) of the oblong hole consists of a tab of metal
                  bent inward away from the exterior surface; these characteristics are typical for bullet entry along a trajectory
                  from back to front relative to the side of the vehicle and at a shallow angle relative to the side of the vehicle (See
                  Figure#13). The angle of trajectory for this defect is back to front with a large angle of deviation from a 90
                  degree (perpendicular) entry into the left side of the vehicle and a small angle with respect to the side of the
                  vehicle.

                  Broken window pane designated#5 observations: No bullet impact defect can be located.

                  Bullet defect#6 observations: This defect consists of broken out plastic of the interior driver's door panel at a
                  point just below the top edge of the door panel and nearly centered between the front and rear edges of the door
                  (See Figure#14). This positon corresponds with the position of the bullet entry defect on the exterior of this
                  door at defect# 1.

                  Bullet defect#7 observations: This defect is a rounded hole i11 the exterior sheet metal of the passenger's side
                  door and is located at the lower edge of the window opening approximately 10 inches from the back edge of the
                  door (See Figure#15). Characteristics of this hole include protruding sheet metal around the circumference of
                  the hole with tearing of the metal. These characteristics are typical of bullet exit.

                  Bullet defect#8 observations: This defect area consists of at least three points of impact and penetration in the
                  interior door panel of the passenger's side door near its top edge and corresponding to a positon in the door
                  panel with the location of the exterior bullet exit defect at defect #7 (See Figure #16). TI1e three impact defects
                  range in size from approximately 1/4 inch to 1/2 inch

                  Bullet defect#9 observations: This defect area consists of perforation damage to the front passenger's seat belt
                  fabric at a point where it is attached to the interior of the passenger's side metal door pillar into which the
                  passenger's door latches when closed. Damage is also noted to an underlying buckle assembly that is part of the
                  attachment system, plastic covering the door closure pillar and metal of the door closure pillar. Small nicks are
                  noted in the plastic covering in this same area and in the paint of the interior passenger's door frame near the
-   v__   . .•.   seat.he1t.attacla.point'4Sf)e.li.igu:reJt.k'i)1¥•.-=-.- �===========-�======�==�==�=

                  Bullet defect# l 0 observations: This defect' area consists of two penetration holes, and other nicks in the paint,
                  in the interior snrface of the vertical section of the passenger door's window frame at the back/rear edge of the
                  door. The defects are located approximately 10 inches above the lower window frame level and. the detail in
                  these defects that is visible indicate an entry angle of slightly back to front with respect to the length of the
                  vehicle (See figure#18).

                  Additional observations: Small nicks are noted in the left facing end of the driver's seat headrest that are typical
                  of high speed impact of small, hard particulate such as bullet fragments, other metal fragments, glass, etc. This
                  headrest was positioned in the vehicle at the scene such that it was adjacent to the left side quaiter panel side
                  window in the extended cab space behind the driver's seat.

                  Item #21, black shirt (suspect); this item contains a previously cut, black/dark gray button front, short sleeve



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   "CINTAS, 3:XL" shirt. The front of this shirt had been previously cut in multiple places and directions and is
   obviously the result of preparing Mr. Ivie for emergency medical intervention. Several areas of this shirt exhibit
   apparent blood staining. The front of the shirt is stained and dirty with areas of soil deposits. Two torn/cut holes
   are noted in the lower left back area with associated apparent blood staining. A large ragged-edged hole
   approximately 1 & l /2 inches long is noted to the right upper back area between the back centerline and the right
   shoulder (approximately 2 & 1/2 inches to the right of shirt back centerline) with associated apparent blood
   staining and tissue deposits. The margin of this large ragged hole was subjected to X-ray Fluorescence
   Spectrophotometry (XRF) analysis and was found to contain a high level of lead indicating the passage of a fired
   bullet. The back of the shirt is noted to be largely stained with apparent blood.

   Item #22, green shirt (suspect), this item contains a previously cut, stained, long sleeve, thermal style, dark green
   'Naturalife, XXL, 100% cotton' shirt. The shirt has been previously cut along both sleeves and its front, again
   for purposes of medical intervention. The front of this shirt is noted to support apparent glass shards, plant parts
   and soil deposits.

   A large ragged hole is noted in the upper right back between the garment centerline and the right shoulder with
   apparent blood staining, tissue fragments, plant paiis, soil particulate and glass particles present. This defect in
   the fabric is located in essentially the same area as a defect described in the black short sleeved shirt described in
   Item #21 above. XRF analysis of the margins of this defect identified the presence of elevated lead levels
   indicating fired bullet passage.

   There is a large hole on the lower left back area with associated apparent blood stai11ing and tissue deposits.

   A grouping of at least five holes were noted concentrated on the back of the left forearm area of the shirt, just
   below the elbow as viewing the shirt from the back while it is being worn with the arms of the wearer extended
   down along each side of their body.

   The upper back, right shoulder and back of the right sleeve are heavily stained with apparent clotted blood and
   associated staining.

   Item #23, black pants (suspect); this item contains a previously cut, stained, black '70LEWBL 42x32, 100%
   cotton' pants. The pants have cuts from t11e bottom of the front zipper through both pant legs and bottom edges.
   There is light red brown staining on the front, back and inside waistband. Over all the pants have wood
   shavings, plant parts and soil deposits. There does not appear to be any fired bullet impact or passage damage on
   these pants.

   Item #27, rain pants (suspect); this item contains a previously cut, stained 'Gage, XX-Large, 100% nylon' rain
   style paints with a black fabric belt The fronts of the pants are cut from the top right waistband to the bottom of
   the right pant seam and from the bottom of the zipper to the bottom of the left pant leg. The upper back
   waistband supports apparent blood staining. There does not appear to be any fired bullet impact or passage
   damage o��,these_paJJ.ts.

   Reconstruction Assessment:

   Bullet impact and passage damage to Mr. Ivie's bright blue Dodge Dakota pickup has been described in previous
   pages of this rep01i and a number system has been used that was initiated by original police investigators and
   was not meant to serialize the sequence of shots. That number system will continue to be used in this section of
   this report.

   It is clear that a fired bullet entered the exterior sheet metal of the pickup's driver's side door at defect #1 along a
   slight front to back angle of approximately 80 degrees (where 90 degrees is perpendicular to the left side of the
   vehicle); that this same bullet exited the interior of the driver's door at defect #6; that this same bullet and its
   fragments in1pacted the interior door panel of the passenger's door at defect #8 causing three major marks and
   several smaller marks; that a large part of this same fired bullet exited the exterior sheet metal of the passenger's
   door at defect #7. After this bullet and its fragments exited the interior of the driver's door panel the grouping


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    impacted the left sleeve and left forearm underside of Mr. Ivie as he was seated in the drivers seat causing
    damage to the under side of the left sleeve of his green, thermal shirt, Item#22, and causing injury to the under
    side of his left forearm at the elbow.

    Another fired bullet entered the exterior sheet metal of the pickup's driver's side door at defect #2 and that
    bullet did not exit the interior surface of the driver's door. The angle of entry for this bullet was demonstrated
    by police investigators, by virtue of a diagrammed trajectory into the pickup, to be from front to back at an
    angle of approximately 70 degrees (where 90 degrees is perpendicular to the left side of the vehicle).

    Another fired bullet entered the cab of the pickup and impacted the front passenger's seatbelt attachment area
    on the right side vertical pillar, into which the right side door latches, at impact#9. At least portions of this
    fired bullet perforated the seatbelt fabric, continued on into and through the interior finish plastic cover of the
    pillar structure and damaged metal beneath the plastic. This fired bu11et did not exit the vehicle and there is no
    exterior sheet metal damage for this bullet impact site. Police investigators show trajectory for this fired bullet
    by virtue of holding a probe placed into the damaged area and the trajectory defined by this method apparently
    enters the driver's side door window, passes through the cab in front of both front seats eventually impacting the
    front passenger's seatbelt structure. Photographs depict small impact defects in the plastic finish cover of the
    vertical pillar where the seatbelt attach point damage is located and also depict two side by side penetrating
    defects (bullet impact defect#10) located in the interior sheet metal of the vertical, rear door frame of the
    passenger's door window in an area that is adjacent to the bullet impact damage to the seatbelt. It is most
    probable that bullet impact defects#9 and#10 were the result of impact by a fragmented bullet which was most
    probably fired into the window glass of the driver's side quarter window; not a bullet fired through the driver's
    door window. Impact with and perforation of the quarter window glass would initiate bullet fragmentation.
    Small defects in the left side of the driver's seat head rest would be a result of impact by projected broken glass
    fragments and bullet fragmentation particulate and that type of damage is visible in a scene photograph. This
    fired bullet and fragments most probably assumed a trajectory that enters the left side quarter window, breaking
    the window, passing between the back of Mr. Ivie's head and in front of the driver's seat headrest and on into
    the front passenger's seat belt attach point at damage defect#9 arid passenger's door window frame damage
    defect #10. A least some portion of the passing frred bullet and component bullet fragments most probably
    impacted the back of Mr. Ivie's head and his upper right back resulting in bleeding WOlmd injmies in his
    hairline and his upper right back along with the embedding of bullet particulate in his upper right back flesh as
    verified by medical X-rays. No bullet exits were identified by police investigators for defects#9 and#10.

    Another fired buliet entered the exterior sheet metal of the driver's side quarter panel (adjacent and to the rear of
    the driver's side door) at defect #3. Entry hole characteristics for defect 3# include a raised edge in the defect
    oriented toward the front of the vehicle and a depressed tab ofmetal (entry ramp) at the back edge of the defect
    oriented toward the back of the vehicle. When a fired bullet approaches sheet metal at a shallow angle it will
    begin to depress the sheet metal on contact and will, with the advance of travel, continue to depress the metal
    into a groove until the bullet either deflects (ricochets) or it perforates the metal. In the case of defect#3 the
    metal tab at the end toward the rear of the vehicle is what began as a groove and ended up being an ent1y ramp.
    The characteristics_�_lml��-�1!5!.Yj�f�c!____f±.I_�leax_lr_sl1�� this site to b� from a _bullet e�tering_ the sheet 111 e_ tal
    fron1 back. to front,refative to tl1e length ofTfieve111cTe, a.no at a sha11ow angle, most pro5a6IyTess llian z-o-===·=-· -=·-=----.- -
    degrees from the left side of the vehicle. No bullet exit to the interior of the vehicle or any other surface was
    identified by police investigators.

    Another fired bullet entered the exterior sheet metal of the driver's side quarter panel (adjacent and to the rear of
    the driver's side door) at defect#4. This defect exhibits the same compelling characteristics as#3 above and
    they clearly show this site to be from a bullet entering the sheet metal from back to front, relative to the length
    of the vehicle, and at a shallow angle, most probably less than 20 degrees from the left side of the vehicle. No
    bullet exit to the interior of the vehicle any other surface was identified by police investigators.

    The position of firearm discharge identified above for defects#3 and#4 is an ideal position for direction of fire
    through the right glass panel of the three panel rear window and out the passenger's door windo\V.




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    Police investigative documentation identifying bullet trajectories relating to defects #3 and #4 in the left side
    quarter panel sheet metal of the Dodge Dakota pickup as from front to back at a shallow angle relative to the left
    side of the pickup are grossly inaccurate and completely contrary to the morphology of those two defects.

    The above detail accounts for five fired bullets on the scene; eight ejected cartridge cases collected from the
    scene were linked to Sgt. Adams' fireann leaving three fired rounds unaccounted for.

    The right rear window panel was broken and no bullet trajectories come close to explaining this breakage so this
    damage is likely the result of an additional firearm discharge.

    Information provided by a witness present during test firing of Sgt. Adams' firearm indicates that the rifle
    ejected fired cartridge cases to the right to a distance of approximately twelve feet from the firearm.

   Two groups of eight total expended cartridge casings are depicted in photographs and on the diagram of the
   scene. One grouping of four casings occupies an area of approximately 8.5 feet by 2 feet on the ground and the
   other is a linear grouping of four casings occupying an area approximately 4 feet long. The groupings are a little
   over 7 feet apart at their closest boarder (See Figure #1). This distance between the two groups is much larger
   than the distance between adjacent casings within each group which indicates that two separate firing locations
   were established by the shooter. Further the group of 4 casings occupying the larger area of 8.5 by 2 feet
   indicates that the shooter was moving during discharge of those casings and that the group occupying the smaller
   area of 4 feet in length indicates that the shooter was nearly stationary in the position for the ejection of all 4 of
   those casings.

   The position of the bullet exit in the passenger's door sheet metal at defect #7, just below the lower edge of the
   window glass (See Figure #15), indicates that it is most probable that the bullet passing through that defect
   caused the passenger's door window to fracture through bullet impact to the bottom support rail of the door's
   window glass located within the door sheet metal at the top edge of the door. Since a relatively small amount of
   window glass was found inside the passenger's door on the seat and floor, some of the broken window glass fell
   out on the ground at the scene to the right side of the tire tracks of the pickup. The defect at #7 is related to the
   defect at #1 in the driver's door so the position of broken glass on the scene from defect #7 fixes a shooting
   position on the scene for the discharge of the firearm into defect #1; the positon for the shooter on the scene for
   creating defect #1 is near the left front corner of the parked police vehicle and the cartridge case ejected by that
   discharge was deposited in the group occupying the larger space (See Figure #19). Three other shots were most
   probably fired during small movements in and around the left front of the police vehicle including the shot into
   defect #2 (the driver's side door) and into defects #9 and #10 (the front passengers seat belt attach point on the
   vertical pillar and front passenger's door's rear, vertical window frame).

   The four expended cartridge casings in the smaller area grouping were most probably fired from a position
   nearly centered in front of the parked police vehicle and a short distance from the first roving shooting position.
   Shots fired from this position most probably created defects #3 and #4 by two bullets entering into the driver's
   side quarter panel at a shallow angle relative to the side of the vehicle, from back to front while the pickup truck
                                                                               --                          =
   was ln7:ne range o:rS5�feet past tne snoorer'sposfnon (SeeFTgure 'lf21J'J: Two-otner snots were frrea rrorn th�
   same general position.

    The other glass deposit documented on the scene is noted by photographs to be very near the left rear bumper
    end of the parked police vehicle and this glass deposit is most probably from either the driver's door window on
    the pickup or from its left side quarter panel window. The large amount of glass on the driver's ±1oor and
    driver's seat indicates that most of this glass fell into the vehicle therefore little fell outside the vehicle. Glass
    deposited on the ground near the police vehicle was most probably from the left side quarter window.

   No materials have been submitted that show bullets were being fired into the pickup from a front-on position by
   the shooter, in other words, no bullet impact damage; to the front end of the pickup; to the grille; to the hood; to
   the engine; to the windshield; to the front tires; etc. It is therefore reasonable to conclude that the shooter was
   not in the direct line of travel by Mr. Ivie's pickup at the time any of the apparent eight shots were fired.



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    Bloodstain deposit patterns noted on the interior of the extended cab seating area behind the driver's position
    indicate a blood flow injury had been sustained in tha t area and that bloody hair came into contact with surfaces
    near the broken quarter panel window. Since it is also known that Mr. Ivie owned a dog it is reasonable to
    conclude that the dog was in the back seating area, was injured b y gunfire and escaped out the broken out left
    side quarter panel window.



   Other materials and evidence beyond that made available to this laboratory to date obviously exist that could
   affect opinions expressed in this report. If those materials and/or evidence items are submitted for examination
   and review then this report will be reviewed, updated and amended as appropriate.



   Kay M. Sweeney,                                                                              September 26, 2016
   Forensic Scientist




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 Figure #1
   Scene
  Diagram
 by Police
 Investiga­
tors Show­
ing Pickup
  Travel,
  Parked
   Police
  Vehicle,
  Broken
  Window
 Glass and
Expended
 Cartridge
  Casings




            Figure #2
         Photograph by
      Police of Glass Near
      Left Rear Bumper of
         Parked Police
             Vehicle




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       Figure #4
Police Photograph of
  the Injuries to Mr.
 Ivie's Left Forearm
and Left Lower Back




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               Figure #5
   Police Photograph of Interior Ex­
  tended Cab Seating Area; Driver's
   Side With Apparent Blood Stains
   That Have Hair Contact Transfer
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                                                                            Figure #6
                                                                                    Police
                                                                                Photograph of
                                                                                Vehicle During
                                                                                  Processing
                                                                                Showing Bullet
                                                                                Impact Defects
                                                                                  Arbitrarily
                                                                                  Numbered




                                                                                      Figure #7
                                                                                        Police
                                                                                   Photograph of
                                                                                  Vehicle During
                                                                                     Processing
                                                                                   Showing Bullet
                                                                                   Impact Defects
                                                                                     Arbitrarily
                                                                                  Numbered; View
                                                                                   of Passenger's
                                                                                    Door Exterior




                                                              Figure #8
                                                 Police Photograph of Vehicle During
                                               Processing Showing Bullet Impact Defects
                                              Arbitrarily Numbered; View of Passenger's
                                                             Door Interior

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       Figure #9
  Police Diagram of
   Mr. Ivie's Pickup
   with Trajectory
   Lines Apparently
 Intended to Define
  the Trajectories of
  Bullets Fired Into
  the Pickup; Lines
  Can be Numbered
 from Front to Back
    at Their Entry
     Points as #1
     Through #5




       Figure #10
 Police Photo of Bullet
Defect #1; Driver's Door


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      · Figure #14
  Police Photo of Bullet
 Defect #6; Driver's Side
Interior Door Panel; Exit
 for Bullet into #1 Defect




                                                              Figure #15
                                                            Police Photo of
                                                                 Bullet
                                                            Defect #7; Pas­
                                                            senger's Door
                                                            Exterior; Exit
                                                            for Bullet into
                                                               Defect #8




       Figure #16
     Police Photo of
  Bullet Defect #8; In­
   terior of Passenger
    Side Door; Upper
   Edge of Door Panel
  Just Below Window;
  Larger Fragment of
    This Fired Bullet                         I 1 I Iii I \, I\! I! 11 I 111 1
  Ensemble Exited The                                    \'   .    j     j  1
                                              ft.CHES           1,
  Exterior Door Sheet
    Metal at Defect 7,
    Figure #15 Above

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                                                                              Figure #17
                                                                        Police Photo of' Bullet
                                                                       Defect #9; Front Passen­
                                                                        ger's Seatbelt Attach
                                                                                 Point




                                                                             Figure #18
                                                                       Police Photo of' Bullet
                                                                       Defect #10; Interior of'
                                                                      Vertical Window Frame
                                                                       of Passenger's Door at
                                                                      Rear Edge of' Door That
                                                                      is Adjacent to the Door
                                                                         Edge in Figure #17
                                                                         When This Door is
                                                                         Closed; The Entry
                                                                       Characteristics Visible
                                                                          Indicate an Entry
                                                                        Trajectory of' From
                                                                           Back To Front.




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           Figure #19
  Police Diagram with Police
    Diagrammed Pickup on
   the Tracks Near the Pas­
    senger's Door Window
\ Glass Deposit and Shooter
     in a Position to Fire a
    Bullet Into Defect #1 in
  Driver's Door at an Angle
  Slightly Left of Perpendic­
   ular That Exits Defect #7
   in Passenger's Door that
   Most Probably Broke the
  Passenger's Door Window                                                 ed casing ejects 12 feet
             Glass                                                        right into larger group




                    Most probable firing line for
              trajectory into defect #3 in driver's side
            · quarter panel (and #4 with small for­        ··�.                .

              ward movement by the vehicle for #4)
                                                                ($)� ••• -
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       4                                                                             P/,T   SWt\RTOS, CO. Cl.ERK
       5                       IN THE SUPERIOR COURT OF THE STATE OF 'WASHIN6-T-0N-·DEPUTY
                                         IN AND FOR THE COUNTY OF MASON
       6
       7              STATE OF·WASHINGTON,                     ).
                                                               )
       8                                Plaintiff,             )       NO.    12-1-64-6.
                                              \�'
                                                               )
       9
  10 . MARTIN IVIE,                             )                      CR 7 .5 Motion for New Trial
                                                )'
  11                          Defendant
                      -------=--==:.;:.,...._---)
  12
  13                       Comes now the defendant pursuant to CR7.5 (a) (2) and moves the Court for
                        a New Trial. This motion is based on the following Affidavit of Counsel and
  14                    legal argument.
  15
 16
                                                        Affidavit of Counsel
 17
                 On Monday July 9, 2012 I received a phone call from Juror #4 Margy Stinke, she
 18 advised me that the Foreperson of the Jury refused to send out questions to the

=J.,.l;;i...sll-�J�u�qge guri_ngdeliberations. Sl�e advised me that both her and another Juror had
                 serious concerns about the law and wanted to asktfie Juage s0me �questio�Tfie------� · - - ·
 20 Foreperso repeatedly re�1Sed to end out any questions to he Court. This left
                            �                        �                        �                        /1
.21              Juror  #4 without enough  mfonnat1on   to reach a proper verdict.                     ·�
 22             Sign                 alty of Perjury
 23

 24                                                          Law
 25            Under CR7.5 (a) (2) Misconduct on the part of the Jury is grounds for a New Trial.                      I
 26                                                                                                                  JI�.
                                                                                                                    l \_!)


               Jury Veiw 1
                                                    D    ORIGINAL·                       THE LAW OFFICE OF
                                                                                            ,fames P. Foley.
                                                                                          J 628 Hays Ave. NW
                                  Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 70 of 121




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      Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 71 of 121




                               CERTIFICATE OF SERVICE
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Pursuant to GR 3.1, I do hereby certify -ths dsUvet<y of the f1:.rregoing to the
following via IJS Mail:

                      STATE    or !;JAS!Htl!GTON CffTORNEV GENERAL
                              1125 Ww.:1hington Strsi;rt SE
                                       PO 'tilox 40100
                               Olympia, WA    98504-0100
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                                         Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 72 of 121



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      Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 73 of 121
                                                                                 FILED
                                                                           SUPREME COURT
                                                                        STATE OF WASHINGTON
                                                                               11/6/2019
                                                                         BY SUSAN L. CARLSON
                                                                                CL.ERK




     TI-IE SUPREME COURT OF WASHINGTON
In re the Personal Restraint of                    )              No. 96860-8
                                                   )
MARTIN STANLEY IVIE,                               )               ORDER
                                                   )
                       Petitioner.                 )            Court of Appeals
                                                   )             No. 49526-1-11
                                                   )


       Department II of the Court, composed of Chief Justice Fairhurst and Justices Madsen,

Stephens, Gonzalez and Yu, considered this matter at its November 5, 2019, Motion Calendar

and unanimously agreed that the following order be entered.

       IT IS ORDERED:

       That the Petitioner's "Motion For Leave To File Motion to Modify" is granted to the

extent that the Petitioner's pro se motion to modify is accepted for filing as a supplemental

memorandum in support of the motion to modify he filed through counsel. The Petitioner's

motion to modify the Commissioner's ruling is denied.

       DATED at Olympia, Washington, this 6th day of November, 2019.

                                                       For the Court



                                                                  CHIEF JUSTICE
           Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 74 of 121




      IN THE SUPREME COURT OF THE STATE OF WASHINGTON




In the Matter of the Personal Restraint of:
                                                                 No. 9 6 8 6 0 - 8
MARTIN s·rANLEY IVIE,                                    Court of Appeals No. 49526- I-II
                              Petitioner.                R.ULINCi DENYING REVIEW


            Through counsel, Martin Ivie filed a tirnely personal restraint petition in Division
Two of the Court of Appeals challenging his judgment and sentence on two counts of
first degree assault, one count of third degree assault, and one cou.nt of attempting to
elude a pursuing police vehicle. 'fhe court ordered a reference hearing. After receiving
the reference hearing findings, a panel of judges denied the petition in an unpublished
decision. Through counsel, Mr. Ivie now seeks this court's discretionary review.
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        1 In addition to counsel's motion for discretionary review, Mr. Ivie filed a pro se
pleading entitled "Grounds for f)ircct Review and Motion for Emergency Injunction,"
When the derk advised i\1r. Ivie that the motions could not be accepted for filing when
Mr. Ivie was represented by counsel, he indicated that he wished for his filing to be treated
as a statement of additional grounds fc>r relief. Through counsel. Mr. Ivie subsequently
moved to allow his pleading to serve as a staternent of additional grounds. As the clerk
noted, a staternent of additional grounds applies only in the: context of a criminal case on
direct appeal. RAP l 0.10., Nonetheless, in the interests of justice. the motion to accept the
pro se filing is granted in part I 'Will treat the pleading as a supplernental mernonmdum in
support of counsel's motion for discretionary review and consider the arguments therein.
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       To obtain this court's review, Mrl Ivie must show that the Court of Appeals
decision conflicts with a decision of this court or with a published Court of Appeals
decision, or that he is raising a significant
                                         1
                                              constitutional question or an issue of
substantial public interest. RAP 13.t(b); RAP 13.SA(a)(l), (b). To obtain
postconviction relief generally, Mr. I ie must show that he was actually and
                                             1
substantially prejudiced by constitutio�al enor or that his trial suffered froni a
nonconstitutional error that inherently reJulted in a complete miscarriage of justice. In
                                             I
re Pers. Restraint of Gomez, 180 Wn.2d 337,347, 325 P.3d 142 (2014).
       Mr. Ivie primarily argues that his tal counsel was ineffective in various ways.
Defense counsel is strongly presum+ to have rendered adequate assistance.
Strickland v. Washington, 466 U.S. 668, 690, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984).
To overcome this presumption, Mr. Ivie Just demonstrate that counsel's representation
fell belo an objective standard of fasonableness a d that, but for counse'.'s
         �                        .                     �
unprofessional performance, there 1s a r9asonable probability the outcome of the tnal
would have been different. In re Pers. Rrstraint of Yates, 177 Wn.2d 1, 35, 296 P.3d
872 (2013). If Mr. Ivie fails to establis� either element of an ineffective assistance
claim, the reviewing court need not addfess the other element. State v. Hendrickson,
129 Wn.2d 61, 78,917 P.2d 563 (1996).
      To understand Mr. Ivie's claims, a review of the facts and trial evidence is
necessary. Deputy. William Reed was :staking out a location where he suspected
someone had been stealing wood. Deputy Reed saw a man a1Tive in a pickup truck and
begin working with the wood. Sergeant Travis Adams then aITived in a marked patrol
              .
car, and Deputy Reed recognized the maµ working with the wood as Mr. Ivie. Deputy
                                         i


Reed ordered Mr. Ivie to get on the gro:und, but Mr. Ivie got in the truck and drove
towards Sergeant Adams. While Deputy Reed pursued on foot, Mr. Ivie quickly turned
the truck around and accelerated toward Deputy Reed, who pointed his flashlight
      Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 76 of 121

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toward the trnck. Mr. Ivie did not stop a� he approached Deputy Reed on the narrow
road, forcing Deputy Reed to jump to aioid the truck. Sergeant Adams then pursued
Mr. Ivie in the patrol car with emergency lights flashing. Mr. Ivie soon stopped the
truck, put it in reverse, and backed into thl front of Sergeant Adams's car. Mr. Ivie then
turned up a steep side road. Sergeant AdLns followed, and Mr. Ivie again stopped the
truck. Mr. Ivie again turned the truck aro�nd and accelerated towards Sergeant Adams.
                                              I




Sergeant Adams feared that he might be lilit by the truck, moved sideways, and fired at
the truck. Mr. Ivie crashed into trees, sultaining gunshot wounds, and was taken to a
hospital for treatment. About 16 hours ilter, two detectives arrived at the hospital to
read to Mr. Ivie his rights and interview �im. Mr. Ivie provided a recorded statement.
       At trial, the State call�d Cameron Simper, a Thurston County Sheriffs Office
detective who also acted as the lead investigator of these crimes, as an expert witness.
Detective Simper testified that investigktors used a computer program to map the
trajectory of the bullets at the scene where Sergeant Adams fired at the truck and
                                          I


introduced into evidence several computJr-generated images of the crime scene.
      Defense counsel called Fred Doughty as an expert witness, who testified that he
had worked in law enforcement for 22 years. Through counsel's questioning,
Mr. Doughty testified to .how he reconstn!lcted the scene of the shooting. Counsel asked
                                          I
Mr. Doughty for his general observations,I and Mr. Doughty testified that he could try
to draw a picture of the scene.
      Defense counsel also called Marty Hayes as a defense expert. Mr. Hayes said
that he had previously testified as an expe1i in ballistics, crime scene reconstruction,
and blood stain pattern analysis. Mr. Hayes opined that the truck was veering away from
Sergeant Adams when the shots were fired.
      Mr. Ivie testified that he was in pain and heavily medicated at the time he was
interviewed at the hospital, and that he was told he had been given morphine and
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                                                                                               I
                                                                                               !


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 OxyContin. Mr. Ivie said that his speech was slurred during the interview and his eyes
were closed. The detectives described Mrl Ivie as alert. Mr. Ivie also presented witness
testimony that he had a dog in the truck aJ the time of the incident, and that the dog had
been wounded in the shooting. Deputy Reled and Sergeant Adams testified that they did
not see a dog.
       In closing arguments, defense counsel implied that the prosecution was creating
                                                     I
false evidence to support its theory of the case. In rebuttal, the prosecution argued
multiple times that defense counsel was alking the jury to ignore eyewitness testimony.
       In his personal restraint petition,   l1i·. Ivie argued that the prosecutor's closing
arguments were improper and inflammatlry, and that defense counsel was ineffective
                                                 I
for failing to call an appropriately qualified crime scene or forensic expert to provide
an alternative expert opinion that Serge I nt Adams was not in the. direct line of the
vehicle when the shots were fired. Mr.[ Ivie also argued that counsel should have
provided veterinary records and testimon. supporting his testimony that his dog was in
the truck, and that counsel was ineffectivb in failing to call the treating physician at the
hospital to testify about Mr. Ivie's sJate of mind and medical condition when
                              .              I
interviewed by detectives. Mr. Ivie included a declaration from the doctor that Mr. Ivie
had been treated with morphine and wL in severe pain. Mr. I vie also argued that
counsel incompetently failed to call the �bctor to discuss his gunshot wounds, failed to
prepare Mr. Ivie for his testimony, failed to properly object and cross-examine
witnesses, failed to contact a lay witness who would have testified that police tried to
fabricate evidence, failed to provide a prbper closing argument, and failed to object to
the State's closing rebuttal argument. Thd Court of Appeals agreed that the prosecutor's
statements were improper and that counspl should have called the treating physician to
provide evidence of Mr. Ivie's medication, but it held that Mr. Ivie failed demonstrate
prejudice. As to the other claims, the court found no deficient performance by counsel.
      Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 78 of 121


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       In his motion for discretionary revifw, Mr. Ivie argues that the Court of Appeals
 applied an improper legal standard to thb ineffective assistance of counsel claim by
focusing on the sufficiency of the State':levidence rather than on whether there was a
reasonable probability that the outcome     Jf the trial would have been different but for
counsel's deficient performance. But     Mr,[ Ivie mischaracterizes the Court of Appeals
decision. The comi carefully explained the rules governing personal restraint petitions
and accurately recited and discussed the ktandards governing ineffective assistance of -
counsel claims. In finding no prejudice, lthe court applied these principles and found
that, under the circumstances, there was .no prejudice. There is no indication that the
court applied an improper standard of rev;iew, 'and thus there is no basis for this court's
review under RAP 13.4(b).                   i
       Mr. Ivie also challenges the Court of Appeals holding that counsel was not
deficient in failing to locate and call the lat witness about police fabrication of evidence.
This argument was the subject of the reference hearing, and as the Comi of Appeals
explained, the superior court at the refe�ence hearing found that defens� counsel had
been aware of the potential witness an<ll had directed an investigator to locate and
interview the witness. Given these findinJs, the Court of Appeals holding that counsei's
investigation of the lay witness was no{ deficient does not conflict with ineffective
assistance precedent. The court reasonably found that counsel made a strategic decision
to not call a witness he was aware of and whom his investigator could not locate. This
issue does not merit review under RAP 13 .4(6).
      In his supplemeqtal memorandum, Mr. Ivie makes pro se arguments that in part
support counsel's arguments but also seek to raise qdditional legal grounds for relief
that were not presented in the personal restraint petition. To the extent Mr. Ivie's
supplemental brief addresses the claims raised by counsel in the motion for
discretionary review, I have considered these arguments. But as to the new claims, they
      Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 79 of 121


                                                                                                              PAGE6



may not be raised for the first time in a motion for discretionary review. In re Pers.
Restraint of Lord, 152 Wn.2d l 82, 188 n.5, 94 P.3d 952 (2004).
       In sum,   Mr. Ivie has not demonstrated a sufficient basis for review under
RAP 13.4(6).
      'fhe motion for discretionary review is denied,




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August _\Q., 2019
        Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 80 of 121
                                                                                               Filed
                                                                                         Washington State
                                                                                         Court of Appeals
                                                                                          Division Two

     IN TIIE COURT OF APPEALS OF THE STATE OF WASHINGffl�Y 23, 2019

                                          DIVISION II
 In the Matter of the Personal Restraint of:                         No. 49526-1-II


 MARTIN STANLEY IVIE,                                          UNPUBLISHED OPINION

                                  Petitioner.


        BJORGEN, J. -Martin Stanley     Ivie seeks relief from personal restraint imposed following

his convictions of two counts of first degree assault, one count ofthird degree assault, and one

count of attempting to elude a pursuing police vehicle.

        Ivie argues that the prosecutor improperly impugned defense counsel's role and integrity

during rebuttal closing argument. He argues also that defense counsel was ineffective because

he failed to (1) consult with a qualified crime scene expert, (2) introduce veterinary records and

testimony that would corroborate his testimony, (3) present testimony from his emergency room

physician, Thomas J. Ferrer, M.D., to address his physical and mental condition at the time he

provided a statement to police at the hospital, (4) present testimony from Dr. Ferrer as to the

location oflvie's gunshot wounds, (5) present testimony from Dr. Ferrer to rebut the

impeachment of Ivie's direct testimony with his hospital statement, (6) introduce photographs of

his gunshot wounds to challenge the State's version ofthe shooting, (7) prepare him to testify,

(8) present an adequate closing argument including basic exculpatory facts, (9) object to

testimony regarding the computer-based crime scene reconstruction, and (10) locate and

interview lay witness Aaron Churchill to corroborate his story. Finally, Ivie argues that the

cumulative effect of the claimed errors denied him a fair trial.
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No. 49526-1-II

        On the claim of prosecutorial misconduct, we hold that the challenged comments by the

prosecutor were improper, but not flagrant and ill-intentioned or prejudicial. On the clctims of

ineffective assistance of counsel, we hold that the failure to contact Dr. Ferrer regarding Ivie's

physical and mental condition when he provided his hospital statements was deficient, but not

prejudicial. We assume that the failure to prepare Ivie for cross-examination was deficient, but

hold it did not prejudice him.

        We previously remanded the claim that defense counsel failed to locate and interview

Churchill to the superior court for a reference hearing to determine necessary issues of fact. On

the basis of the superior court's findings of fact on that reference hearing, we hold that defense

counsel did not act deficiently with respect to Churchill. On all other claims of ineffective

assistance, we hold that the challenged actions of defense counsel were not deficient. Finally, we

hold that the cumulative effect of the errors claimed by Ivie did not deprive him of a fair trial.

       For these reasons we deny Ivie's personal restraint petition (PRP).

                                                FACTS

       The facts underlying Ivie's conviction are set forth in our unpublished opinion from his

direct appeal. See State v. Ivie, No. 44258�2, slip op at 187 Wn. App. 1008 (Wash. Ct. App. Apr.

21, 2015) (unpublished). We include here only the facts necessary to resolve the issues Ivie

raises in this PRP.

                                 I.   IVIE'S ENCOUNTER WITH OFFICERS

       On a dark, wet, and foggy night, Deputy William Reed was on surveillance at a site from

which he suspected someone had been stealing wood. Ivie, slip op at 187 Wn. App. 1008, at *2.

A pickup truck eventually arrived at the site, and Reed observed an individual exit the truck and


                                                   2
        Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 82 of 121




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begin working with the wood. Id. at *2-3. Reed attempted to get a clearer view of the suspect as

Sergeant Travis Adams anived in his marked patrol car. Id. at *3. Reed recognized the suspect

as Ivie and ordered him to get on the ground. Id. Ivie ignored Reed's orders, got in his truck and

drove away in the direction of Adams. Id.

        Reed pursued on foot as Ivie quickly turned his truck around and proceeded back the way

he had come, accelerating toward Reed. Id. Reed pointed his flashlight toward Ivie's oncoming

truck. Id. The road was narrow and provided only about two feet of space on either side of

Ivie's truck. Id. Ivie did not stop as he approached Reed. Id. When the truck came within

about five yards, Reed jumped out of the way to avoid it, and Ivie continued down the road. Id.

Adams pursued Ivie in his patrol car with emergency lights flashing. Id.

       Soon after, Ivie stopped his truck. Id. As Adams' patrol car slowed, Ivie put his truck

into reverse and backed into the front of Adams' car. Id. Ivie then turned and proceeded up a

steep side road. Id. Adams followed Ivie up the side road until he observed Ivie come to a

landing. Id. Ivie stopped the truck on the landing, and Adams stopped about 20 feet behind him.

Id.

       Adams got out of his car with his assault rifle and began backing down the roadway to a

point about 30 feet behind his car, coming to stand at the foot of an embankment. Id. at *4.

Adams issued orders to Ivie, who remained in his truck. Id. Ignoring the orders, Ivie turned his

truck around and accelerated directly at Adams. Id. Adams was afraid he may have been

"squished or killed," so he moved out of the way sideways along the embankment. Ivie, at *5.

As Adams moved sideways along the embanlanent, he fired four shots at Ivie's truck and, as Ivie




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continued down the road, he fired four additional shots. Id. Ivie crashed into trees at the bottom

of the embankment. Id.

          Ivie sustained multiple gunshot wounds and was taken to a hospital emergency room for

treatment. Id. Roughly 16 hours later, two detectives arrived at the hospital to read to Ivie his

Miranda 1 rights and to interview him. Id. Ivie provided a recorded statement. Id.

                                      II.   PROCEDURAL HISTORY

          The State charged Ivie with (1) two counts of first degree assault, based on the incidents

in which he drove his truck toward Reed and, later, Adams, (2) two counts of second degree

assault based on the same conduct, (3) one count of third degree assault, based on the incident in

which he backed his truck up into Adams' patrol car, (4) one count of attempting to elude a

pursuing police vehicle, and (5) one count of second degree theft, based on Ivie's activities at the

felled maple tree on or about February 9. Id. at *6. The jury returned guilty verdicts on all

counts as charged. Id. The trial court entered convictions on all the verdicts, except those for the

alternative second degree assault charges, which the court vacated. Id. Ivie appealed. Id. at *7.

In his direct appeal, we reversed Ivie's conviction of second degree theft, but we affirmed all of

his remaining convictions. Id. at *1-2.

          Ivie subsequently filed the present PRP. We remanded the matter to superior court for a

reference hearing to determine certainissues of fact relating to Ivie's claim that defense counsel

failed to locate and interview Churchill, a potential witness. The superior court held the

reference hearing and issued findings of fact on the referred issues.




1
    Miranda v. Arizona, 384 U.S. 436, 86 S. Ct. 1602, 16 L. Ed. 2d 694 (1966).
                                                   4
       Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 84 of 121




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                                     III. ADDITIONAL FACTS

A.     Defense Counsel's Closing Argument

       Defense counsel, James P. Foley, made closing remarks, in pertinent part, as follows:

               You know, there's a saying in the law, or an expression we use in the law
       that says a philosopher is a blind man at midnight in a cellar looldng for a black cat
       that isn't there. He's distinguished from the theologian in that the theologian finds
       the cat. He is further distinguished from the prosecutor who smuggles the black cat
       into the cellar under his coat and emerges to try and produce it. That is what is
       going on here, ladies and gentlemen of the jury.
               Martin Ivie was shot. And whether it was excessive or not is not your issue.
       Martin Ivie was shot. And now the State wants you to believe oh, he was shot
       because he was assaulting officers. Not stealing wood, he was assaulting officers.
       That is a black cat in a cellar at midnight that isn't there.
               You go back and you read all of the jury instructions carefully, and you look
       at all the evidence, and you weigh all the testimony you've heard, and return
       verdicts of not guilty on all of the assault counts and the eluding.

Verbatim Report of Proceedings (VRP) at 773-74.

B.     Prosecutor's Closing Rebuttal Argument

       The State made closing rebuttal argument, in pertinent part, as follows:

                Apparently Mr. Foley [defense counsel] wants you to ignore the testimony
       of, for instance, Fred Doughty and Martin Hayes - and I'll come right back to it in
       a moment and talk about it. He wants you to focus only, and solely, and entirely,
       on the testimony of Martin Ivie, the defendant in this very serious case.

VRP at 775 (emphasis added).

              But Mr. Foley wants you to forget about everything else that you heard
      evidence of, and he wants to continue to talk about the shooting, but then rightfully
      tell you that that isn't what this case is about.

VRP at 775 (emphasis added).

              Again, thank goodness for headlights. Mr. Foley would have you believe
      that these rogue cops dressed in black in the dark of night were just in the road and
      nobody could see them. As he's driving straight at Deputy Reed, right in the middle
      of the headlights with Deputy Reed's flashlight shining back at the car, Deputy
      Reed shouts into his radio, he's coming right at me; has to jump out of the way so

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        Case 3:20-cv-05389-BHS Document 1 Filed 04/24/20 Page 85 of 121




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        as not to get hit. And it's a second or two later that Sergeant Adams goes by and
        can see when he goes by, and Deputy Reed is not in the roadway in the headlights.       ,,

VRP at 780 (emphasis added).

               Mr. Foley says that the angles ofthe shots that Sergeant Adams fired don't
        add up. Apparently he's really asking you to again ignore the testimony of all of
        the witnesses, including Mr. Hayes, who evaluated the vehicle, and evaluated all
        the measurements that the Thurston County Sheriffs Office produced.

VRP at 781 (emphasis added).

C.      Testimony ofAdams

       A major point ofcontention in this matter involves Adams' testimony about his position

in relation to Ivie when he fired the shots. In Ivie, we stated:

       As Adams moved sideways along the embankment, he held his assault rifle up as
       high up as he could, attempting to get the barrel on the same level as Ivie, and fired
       four rounds. The truck straightened out and went off the embankment. As the truck
       passed him, Adams fired four additional rounds into the driver's side door area.
       The truck proceeded down the embankment, crossing the road behind Adams's car
       and crashing into trees and bushes at the bottom of the embankment on the other
       side ofthe road.

Ivie, slip op at 187 Wn. App. 1008, at *3.

       However, Adams' exact position is somewhat ambiguous. Adams testified that he would

have been hit "dead center" and "squished or killed" ifhe had not moved out ofthe way. VRP at

315. Adams said that as he was moving laterally out ofthe way oflvie's truck along the

embanlanent:

       I took my rifle and held it up high, so that I could try to get it up to the driver's
       height. And I fired at the driver in the vehicle at that point to try and get him to
       stop - stop driving and nm me over. . . . But I was down on the bank below the
       level ofthe vehicle and the truck was up above me. So I wanted to get my rifle up
       in the air as high as I could, hoping to get the rounds into the truck.

VRP at 316. Adams also testified:


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       At the time that I ...fired the first four rounds ... I was surprised that I didn't get
       hit. I was surprised that I was able to move across the bank fast enough to not get
       hit by the front of the truck. I didn't bother firing any rounds at that point because
       I would have hit nothing but grille.

VRP at 320. He further stated:

       I was still very concerned that that truck was going to go sideways and come off
       the bank and hit me. With those first four rounds I was just trying to get the driver
       to stop that behavior so that I didn't get squished by the truck.

       At that point the vehicle straightened- seemed to straighten out and it came off the
       bank right where I had been standing a second before. I turned at that point and
       shined my light again on the truck.And what I could see was the driver was down
       hanging on the steering wheel and had turned and was looking down the road,
       basically in the direction from which we had just come up.

VRP at 318. "My concern at that point was if this truck gets behind me and starts heading back

down this road from where we came from ... that there was going to be a collision ...so I fired

again at the vehicle." VRP at 319.

       From the time Adams started to move laterally to the point where he fired the second

volley of shots, Ivie's truck was continuously accelerating in a forward direction. Adams'

testimony suggests that he fired four rounds at the driver's side of the truck as it was moving

toward him and then an additional four rounds at the driver's side as it was moving past and

away from him.

D.     Testimony of Detective Cameron Simper

       The State called Cameron Simper, a detective for the Thurston County Sheriff's Office,

as an expert witness. Simper was assigned as the lead investigator in Ivie's case. The State

introduced several computer-generated images of the crime scene through the testimony of

Simper.



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          Simper testified that investigators used a program called "Total Station," which is

"computer software that generates an image ... [a] two-dimensional,three-dimensional image to

represent what was ...located at the scene." ·VRP at 221. He testified,"Due to the ...total

station we can map ...the trajectory ...of bullets." Id. He testified investigators used the

software to map "the progression of Ivie's pickup truck based on the tire tracks that were located

at the scene." Id. at 223. He testified investigators "[a]lso used the total station equipment to

mark the expended casings from Sergeant Adams' patrol rifle,and also the resting point oflvie's

vehicle,as well as other items ofevidentiary value that were collected at the scene." Id.

E.        Testimony ofFred Doughty

          Fred Doughty was the first expert witness that Foley called in Ivie's defense. Doughty

testified that he worked in "law enforcement for about 22 years " prior to his current position as a

"private investigator." VRP at 358. Doughty did not testify as to whether he was a forensics

expert.

       Foley asked Doughty if he·could make some "general observations ...about trajectories,

and where bullets might have come from,and that sort of thing?" VRP at 375. Doughty

responded,"Yes, sir." Id. Foley then stated,

       Okay. And if you could, we're going to test out your artistic skills. Having seen
       this - been to the scene,could you draw us a picture of where the - on the landing
       the travel trailer was,and the police car,and the path of Mr.Ivie's car based on all
       of your observations and expertise?

Id. To which,Doughty responded,"I can try." Id. Doughty then drew a picture of the incident,

including trajectories and vehicle orientation,in response to Foley's questions.

       Ivie claimed that his dog was with him at the time of the incident. Doughty testified that

he had reviewed the veterinary records,which confirmed that Ivie's dog had sustained a gunshot

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wound. Reed and Adams testified that they did not see or hear a dog during the events of that

night. However, Adams testified also that "as I was moving down [towards Ivie's truck that

crashed], it sounded like something scurried off into the brush, or moved into the brush line."

VRP at 351. He did not "know what it was." Id.

F.     Testimony of Marty Hayes

       Maiiy Hayes was the second expert witness Foley called in Ivie's defense. Foley

questioned Hayes about his qualifications as follows:

       [Foley]:       And in your several dozen times testifying in court you've been qualified
                      as an expert in, like I said before, the use of force, yes?

       [Hayes]:       Yes.

       [Foley]:       Ballistics?

       [Hayes]:       Yes.

       [Foley]:       Crime scene reconstruction?

       [Hayes]:       Yes.

       [Foley]:       Blood stain pattern analysis?

       [Hayes]:       Yes.

VRP at 458.

       Hayes provided his expert opinion as to the path of Ivie's vehicle, in part,.as follows:

       That opinion would be that he was - the vehicle itself was veering away from
       Sergeant Adams' vehicle, and of course where Sergeant Adams said he was. And
       I base that on the - the picture that I saw, the trajectory of the rounds, the - the
       tracks in the grass and in the - the mud that were- were provided to me, and frankly
       Sergeant Adams['] own statement that he gave to investigating officers where he
       said that it wasn't corning at him any longer when he fired the shots.

VRP at 461-62.


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G.      Testimony of Barbara Marx

        Barbara Marx and Ivie lived together. Marx testified that she was with Ivie prior to the

incident. She further testified that Ivie had his dog with him when he left that night. Marx

claims that, on the day following the incident, she found Ivie's dog who was "bloody, and ...

[his] neck was all swollen." VRP at 485. Marx testified she took the dog to the veterinarian.

Marx opined that Ivie's dog had been shot.

H.      Testimony of Ivie

        Ivie testified as to the location of his gunshot wounds as follows: "I was hit - grazed

here, on top of my head, and two in my back." VRP at 592.

       Ivie argues that he was in pain and heavily medicated at the time he was interviewed by

detectives at the hospital. He testified that "I was told that I was on morphine and also

OxyContin." VRP at 552. Ivie's eyes were closed throughout the interview and his speech was

somewhat slurred during the first portion of it. Ivie, slip op at 187 Wn.App.1008, at *3. The

detectives, however, described Ivie as alert. Id. Ivie also testified that he had his dog with him

at the time of the incident.

                                           ANALYSIS

                                    I.PRP LEGAL PRINCIPLES

       To be entitled to collateral relief through a PRP, the petitioner must first prove error by a

preponderance of the evidence. In re Pers. Restraint of Crow, 187 Wn. App.414, 420-21, 349

P.3d 902 (2015). Second, if the petitioner is able to show error, he or she then must also prove

prejudice, the degree of which depends on the type of error shown. Id. at 421.




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        If a constitutional error, the petitioner must demonstrate it resulted in actual and

substantial prejudice to him. In re Pers. Restraint of Woods, 154 Wn.2d 400,409,114 P.3d 607

(2005). "Actual and substantial prejudice,which 'must be determined in light of the totality of

circumstances,' exists if the error 'so infected petitioner 's entire trial that the resulting conviction

violates due process."' Crow, 187 Wn. App. at 421 (quoting In re Pers. Restraint ofMusic, l 04

Wn.2d 189, 191, 704 P.2d 144 (1985)). If a nonconstitutional error, the petitioner must meet a

stricter standard and demonstrate the error resulted in a fundamental defect,which inherently

resulted in a complete miscarriage of justice. In re Pers. Restraint ofSchreiber, 189 Wn. App.

110,113,357 P.3d 668 (2015); Woods, 154 Wn.2d at 409. If the petitioner fails to make a prima

facie showing of either actual and substantial prejudice or a fundamental defect, we deny the

PRP. Schreiber, 189 Wn. App. at 113.

       The PRP must be supported with facts or evidence and may not merely rely on

conclusory allegations. In re Pers. Restraint ofMonschke, 160 Wn. App. 479,488,251 P.3d 884

(2010). If allegations are based on evidence external to the existing record,the petitioner must

show that he has competent, admissible evidence to establish the facts that entitle him to relief.

Id.

       "If the petitioner's evidence is based on knowledge in the possession of others, he
       may not simply state what he thinks those others would say,but must present their
       affidavits or other corroborative evidence. The affidavits . . . must contain matters
       to which the affiants may competently testify."

Id. at 488-89 (quoting In re Pers. Restraint ofRice, 118 Wn.2d 876,886,828 P.2d 1086 (1992)).

"The petitioner must show that the 'factual allegations are based on more than speculation,

conjecture,or inadmissible hearsay."' Id. at 489 (quoting Rice, 118 Wn.2d at 886).



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                                 II.   PROSECUTORIAL MISCONDUCT

         Ivie argues that the prosecutor committed flagrant and ill-intentioned misconduct by

disparaging the role and integrity of defense counsel. We agree that the prosecutor's comments

were improper, but we disagree that they were flagrant and ill-intentioned or prejudicial.

A.       Legal Principles

         To establish prosecutorial misconduct,the defendant must prove that the prosecuting

attorney's remarks were both improper and prejudicial. State v. Allen, 182 Wn.2d 364,373,341

P.3d 268 (2015). "In analyzing prejudice,we do not look at the comments in isolation, but in the

context of the total argument, the issues in the case, the evidence,and the instructions given to

the jury." State v. Warren, 165 Wn.2d 17,28,195 P.3d 940 (2008).

         We analyze prejudice in misconduct claims under one of two standards of review. State

v. Emery, 174 Wn.2d 741,760,278 P.3d 653 (2012). If the defendant objected at trial,the

defendant need only show that the prosecutor's misconductresulted in prejudice that had a

substantial likelihood of affecting the jury's verdict. Id. If, however, the defendant did not

object at trial,the defendant is deemed to have waived any error unless the prosecutor's

misconduct was so flagrant and ill-intentioned that an instrnction could not have cured the

resulting prejudice. Id. at 760-61. "Under this heightened standard,the defendant must show

that (1) 'no curative instruction would have obviated any prejudicial effect on the jury' and (2)

the misconduct resulted in prejudice that 'had a substantial likelihood of affecting the jury

verdict."' Id. at 761 (quoting State v. Thorgerson, 172 Wn.2d 438,455,258 P.3d 43 (2011)).

Because Ivie did not object to the claimed misconduct by the prosecutor,we apply the latter two­

part test.


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B.     Improper Remarks in Prosecutor's Rebuttal Closing Argument

        Ivie claims four instances when the prosecutor allegedly "impugned the role and integrity

of defense counsel" in his rebuttal closing argument. Br. of Pet'r at 40. The prosecutor stated, in

pertinent part, as follows:

             Apparently Mr. Foley wants you to ignore the testimony of, for instance,
       Fred Doughty and Martin Hayes.



              But Mr. Foley wants you to forget about everything else that you heard
       evidence of.



               Again, thank goodness for headlights. Mr. Foley would have you believe
       that these rogue cops dressed in black in the dark of night were just in the road and
       nobody could see them.



              Mr. Foley says that the angles of the shots that Sergeant Adams fired don't
       add up. Apparently he's really asldng you to again ignore the testimony of all of
       the witnesses.

VRP at 775, 780-81 (emphasis added.)

       Ivie points to Warren to support his argument that the prosecutor's statements were

improper. 165 Wn.2d at 29. In Warren, the court concluded that "it was improper for the

prosecutor to tell the jury there were a 'number of mischaracterizations' in defense counsel's

argument as 'an example of what people go through in a criminal justice system when they deal

with defense attorneys."' Id. Additionally, the prosecutor "described defense counsel's

argument as a 'classic example of taking these facts and completely twisting them to their own

benefit, and hoping that you are not smart enough to figure out what in fact they are doing.'" Id.


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Although the court concluded these statements were improper, the statements were not so

flagrant and ill-intentioned that a curative instruction could not have obviated the prejudice. Id.

at 29-30.

          Ivie also cites State v. Negrete, 72 Wn. App. 62, 66, 863 P.2d 137 (1993), in which

during closing argument defense counsel cast an undercover police officer as a "trained liar" and

a confidential informant as a snitch paid to "frame people." Id. at 66. In rebuttal, the prosecutor

stated:

          I have listened with great interest to the comments of [defense counsel]. Two things
          come to mind: I have never heard so much speculation in my entire life in going
          into facts that weren't even presented into evidence. And the second is, he is being
          paid to twist the words of the witnesses by Mr. Negrete.

Id. at 66. The court concluded the statement was improper, but held that there was no prejudice

because Negrete did not establish a substantial likelihood that the remark affected the jury's

verdict. Id. at 67-68.

          The prosecutor's statements here and in Warren rest on a common core: the accusation,

either express or plainly implied, that defense counsel did not fairly present the evidence in an

attempt to mislead the jury. In each case, the prosecutor's message was that defense counsel

wanted the jury to ignore facts and violate their oath. This message crosses the line from

legitimate, aggressive argument into unsupported personal attacks on defense counsel's

motivation and purpose. We follow the Supreme Court's decision in Warren and hold that the

prosecutor's comments here impugned the role of defense counsel.

          The State also maintains that the prosecutor's statements were proper because they were

invited or provoked by defense counsel's closing argument. The State claims that counsel's

extended metaphor contained accusations that the prosecution had deceived the jury. The State

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argues that the defense counsel's accusations permitted the prosecutor to respond in kind.

However, whether or not this is an accurate characterization of the defense's argument, an

improper argument by one party does not license a rebuttal that itself descends to the improper.

The State's attempted justification is not persuasive.

        On balance, we conclude the prosecutor's statements were improper because they

impugned the role and integrity of defense counsel and were not justified by defense counsel's

closing argument.

C.      Prejudice: Heightened Standard

        As noted, Ivie will be deemed to have waived his prosecutorial misconduct claim unless

he shows that (1) no curative instruction would have obviated any prejudicial effect on the jury

and (2) the misconduct resulted in prejudice that had a substantial likelihood of affecting the jury

verdict. See Emery, 174 Wn.2d at 761. Ivie makes neither showing.

       To meet the first of these prongs, Ivie must show that the challenged remark "'is so

flagrant and ill intentioned that it causes an enduring and resulting prejudice that could not have

been neutralized by an admonition to the jury."' See Thorgerson, 172 Wn.2d at 443 (quoting

State v. Russell, 125 Wn.2d 24, 86, 882 P.2d 757 (1994)). The impropriety in the prosecutor's

remarks was the message that defense counsel wanted the jury to ignore facts and violate their

oath. A reasonable curative instruction would have informed the jury that the prosecutor's

remarks were improper and directed them not to consider those remarks, thus likely removing

prejudice and placing the prosecutor in a less than flattering light. Ivie thus does not make the

first showing.




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        The second showing in the heightened standard is that of "a substantial likelihood that the

misconduct affected the jury verdict." Emery, 174 Wn.2d at 760. "In analyzing prejudice,we do

not look at the comments in isolation,but in the context of the total argument,the issues in the

case,the evidence,and the instructions given to the jury." Warren, 165 Wn.2d at 28.

        Although the prosecutor's comments were improper,in the context of the total argument

they were not prejudicial. In Negrete, the court concluded the defendant could not show

prejudice even when the prosecutor openly claimed defense counsel was "being paid to twist the

words of the witnesses" by the defendant. 72 Wn. App. at 66 (emphasis omitted). The remarks

by the prosecutor here essentially reminded the jury to weigh evidence that defense counsel had

not mentioned,although in a way that improperly attributed a motive to defense counsel. Their

effect is much less potent than the remarks in Negrete. Given the weight of the evidence against

Ivie and the nature and context of the prosecutor's remarks,we do not see a substantial

likelihood that those remarks affected the verdict.

       Ivie has not shown that either prong of the heightened standard from Emery is met.

Therefore,his claim of prosecutorial misconduct fails.

                            III. INEFFECTIVE ASSISTANCE OF COUNSEL

       Ivie argues that defense counsel was ineffective for several reasons. We analyze each

claim in tum.

A.     Legal Principles

       A claim of ineffective assistance of counsel "presents a mixed question of fact and law

reviewed de novo." State v. Sutherby, 165 Wn.2d 870,883,204 P.3d 916 (2009). To

demonstrate ineffective assistance of counsel,Ivie must satisfy the two-pronged test laid out in


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Strickland v. Washington, 466 U.S. 668,687,104 S. Ct. 2052,80 L. Ed. 674 (1984). If Ivie fails

to establish either prong ofthe test,we need not inquire further. State v. Foster, 140 Wn. App.

266,273,166 P.3d 726 (2007).

        First,Ivie must show that counsel's performance fell below an objective standard of

reasonableness. State v. McFarland, 127 Wn.2d 322,334-35,899 P.2d 1251 (1995). To

demonstrate deficient performance,the record must show no legitimate strategic or tactical

rationale for the trial attorney's decisions. McFarland, 127 Wn.2d at 335-36. Second,Ivie must

show prejudice. Id. at 335. Prejudice exists ifthere is a reasonable probability that,but for

counsel's errors,the result ofthe proceeding would have differed. State v. Grier, 171 Wn.2d 17,

34,246 P.3d 1260 (2011). In the context ofa PRP,a petitioner who shows prejudice under this

standard effectively meets his burden in showing actual and substantial prejudice on collateral

attack. In re Pers. Restraint of Crace, 174 Wn.2d 835,848,280 P.3d 1102 (2012).

        Still,we must be "highly deferential" in evaluating a challenged attorney's performance.

Strickland, 466 U.S. at 689. We strongly presume that the appellant received effective

representation. State v. Brett, 126 Wn.2d 136,198,892 P.2d 29 (1995).

B.     Failure to Call Crime Scene or Forensic Expert Witnesses

       Ivie argues that his defense counsel's failure to consult with a qualified crime scene or

forensics expert was deficient and prejudiced his right to a fair trial. We disagree.

       On the matter of deficiency, he claims that had a qualified crime scene or forensics expert

presented testimony,he or she would have rebutted the State's evidence and corroborated his

testimony that he was not driving directly toward Adams when Adams fired the shots. Ivie

supports his claim with an expe1i's declaration and post-conviction lab report. Additional expert


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testimony, Ivie argues, would have controverted the State's theory as to the path ofthe vehicles,

trajectory ofthe bullets, and his resulting gunshot wounds.

        However, the evidence at trial indicated that Ivie began accelerating directly at Adams.

Ivie, slip op at 187 Wn. App. 1008 at *4. Adams then moved out of the way sideways along the

embankment and fired four initial shots at Ivie's trnck and, as Ivie continued down the road, four

additional shots. Id. at *5. The expert report only provides an opinion that Adams "was not in

the direct line oftravel by Mr. Ivie's truck at the time any ofthe eight shots were fired." Br. of

Pet'r, Deel. ofKay Sweeny, App. 1-6, at 4. Thus, the report is not dispositive ofwhether Ivie

ever drove directly at Adams, the critical element ofthe assault. charge.

       "Generally the decision whether to call a particular witness is a matter for differences of

opinion and therefore presumed to be a matter oflegitimate trial tactics." In re Pers. Restraint of

Davis, 152 Wn.2d 647, 742, 101 P.3d 1 (2004); see also State v. Mannering, 150 Wn.2d 277,

287, 75 P.3d 961 (2003) (failure to call defense expert witness was strategic). Defense counsel

called private investigator Doughty to provide expert opinion testimony. Doughty provided

testimony regarding, among other matters, the path ofthe vehicles and trajectory ofthe bullets.

Defense counsel had Doughty draw a picture in court that illustrated his opinion as to vehicle

orientation and bullet trajectory. Counsel's questioning revealed that the testimony ofDoughty

was part ofcounsel's strategy to counter the State's forensic evidence.

       Defense counsel also called firearms expert Hayes who testified that he had experience in

the use offorce, ballistics, accident reconstruction, and blood stain pattern analysis. The

examination likewise countered the State's evidence as to vehicle orientation and bullet

trajectory. Hayes testified that "the vehicle itselfwas veering away from Sergeant Adams'


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vehicle, and ofcourse where Sergeant Adams said he was." VRP at 461-62. The decision to

rely on the testimony ofDoughty and Hayes on these points was a legitimate strategic choice.

         Ivie therefore has not shown that defense counsel was deficient for calling these

individuals, instead ofothers. Because Ivie has not established deficient performance, this claim

fails.

C.       Failure to Introduce Veterinary Records and Testimony

         Ivie argues that his defense counsel's failure to introduce veterinary records and

testimony was deficient and prejudiced his right to a fair trial. Ivie supports his claim with a

copy ofthe veterinary records and the declarations oftwo veterinarians who reviewed the

records. He claims this failure to introduce was deficient because the records and testimony

would have weakened Reed's credibility and strengthened his credibility. We disagree.

         "Generally the decision whether to call a particular witness is a matter for differences of

opinion and therefore presumed to be a matter oflegitimate trial tactics." Davis, 152 Wn.2d at

742. Reed and Adams testified that they did not see or hear a dog during the events ofthat night.

Testimony from Ivie and Marx showed that Ivie had his dog with him at the time ofthe incident

and that the dog may have been shot. At trial, Doughty testified that he reviewed the veterinary

records, which verified the dog had suffered a gunshot wound.

         However, evidence that the dog was shot during the incident would not contradict the

officers' testimony that they did not see or hear a dog during the events. Thus, veterinary

records or testimony showing the dog was shot would have had no effect on Reed's credibility

and would, at best, only add cumulative weight to Ivie's story. Defense counsel was not

deficient in not offering the veterinary evidence.


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D.      Failure to Contact or Call Dr.Ferrer at Ivie's CrR 3.5Hearing

        Dr.Ferrer cared for Ivie while he was at the hospital following the shooting. Ivie avers

that defense counsel's failure to contact Dr.Ferrer or call him to testiry at the CrR 3.5hearing

regarding Ivie's physical and mental condition when the police interrogated him was deficient.

Further, he argues this failure "prejudiced his ability to challenge the admissibility of his hospital

statement and prejudiced him at trial." Br.of Pet'r at 20. We agree that defense counsel's

failure to contact Dr.Ferrer was deficient, but we disagree that it was prejudicial.

        1.PRP Threshold

        The State claims that this issue was already raised and decided on direct review in Ivie.

In the context of a PRP, '"[a] defendant may not recast the same issue as an ineffective

assistance claim; simply recasting an argument in that manner does not create a new ground for

relief or constitute good cause for reconsidering the previous rejected claim."' Davis, 1 52

Wn.2d at 671 (quoting In re Pers. Restraint ofStenson, 142 Wn.2d 710, 7 20, 16 P.3d 1 (2001)).

        On direct appeal, Ivie claimed that "the admission of the statements he made in the

hospital violated his right to due process because he made them involuntarily." Ivie, slip op at

187 Wn.App. 1008, at *6. In response, we noted that "Ivie presented no expert medical

testimony concerning his condition at the time or the effects of any drugs he had taken." Id. at

*7. We held, however, that the evidence presented was sufficient to support the conclusion that

Ivie made the hospital statements voluntarily. Id. at *1 3.

       In his PRP, Ivie claims that defense counsel "never interviewed ...[his] doctor as to the

nature of his injury or his condition at the time of his hospital interrogation." Br.of Pet'r at 2 2.

To support his claim, Ivie provides a declaration from Dr.Ferrer describing Ivie's injuries,


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stating that Ivie reported severe pain, and describing the morphine doses that Ivie received. Ivie

also provides a supplemental declaration from Dr.Ferrer that states defense counsel never

contacted him.

        While we did conclude that Ivie's hospital statements were properly admitted, we did not

make a judgement as to whether counsel was ineffective for failing to investigate and obtain

testimony from Dr. Ferrer. Therefore, Ivie's present claim differs from the one raised on direct

review and, as such, we consider his ineffective assistance of counsel claim.

       2.Failure to Contact Dr.Ferrer was Deficient

       Ivie claims that testimony from Dr.Ferrer "would have corroborated and elaborated ...

that he was in pain and heavily medicated at the time he was interrogated." Reply Br.of Pet'r at

7; see also Br.of Pet'r at 23. He believes Dr.Ferrer's testimony would have supplied evidence

that he did not provide a knowing and voluntary waiver of his right to silence. Id.

       Dr.Ferrer's declaration provides a detailed medical description oflvie's gunshot wounds.

The declaration also states that Ivie reported severe pain and had been administered morphine.

The medical reports attached to Dr.Ferrer's declaration show that Ivie was given morphine

intravenously five times on February 10, 2010 and that Percocet was ordered but not

administered. Further, Dr.Ferrer states that "it is frequently difficult to obtain information from

a patient who is experiencing extreme pain and receiving morphine." Br.ofPet'r at 53. Finally,

Dr.Ferrer stated that ifsubpoenaed, he would have testified consistently with his declaration and

the medical records. This evidence would have been relevant to the nature oflvie's surgery, the

severity of his wounds, and the effect of extreme pain and morphine.

       In Ivie's direct appeal, we outlined the trial court's oral findings as follows:


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       (1) [P]olice obtained pennission from hospital staffbefore questioning Ivie, (2) Ivie
       was well enough to walk at the time, (3) Ivie generally gave coherent, responsive
       answers to their questions, without significant pauses, (4) when police asked open
       ended questions, Ivie gave detailed answers and added his own thoughts, (5) Ivie
       admitted that he had memories ofthe interrogation independently ofthe recording,
       and (6) no evidence showed that police sought to coerce Ivie or overbear his will.
       The court also noted that Ivie presented no evidence o_fthe exact nature, timing, or
       duration of the surgery or of the severity of his wounds, other than his own
       testimony that he had been repeatedly shot, suffered a concussion, and was under
       the influence ofmorphine and OxyContin.

Ivie, slip op at 187 Wn. App. 1008, at *7. However, we only made this decision, in part, because

"Ivie presented no expert medical testimony conceming his condition at the time or the effects of

any drngs he had taken." Id. at *7.

       "Generally the decision whether to call a particular witness is a matter for differences of

opinion and therefore presumed to be a matter oflegitimate trial tactics." Davis, 152 Wn.2d at

742. However, this does not relieve an attorney ofthe

       duty to make reasonable investigations or to make a reasonable decision that makes
       particular investigations unnecessary. In any ineffectiveness case, a particular
       decision not to investigate must be directly assessed for reasonableness in all the
       circumstances, applying a heavy measure ofdeference to counsel's judgments.

Strickland, 466 U.S. at 691.

       Dr. Ferrer declared that defense counsel did not contact him. Dr. Ferrer was Ivie's

treating physician immediately after the shooting and was the primary source ofinformation

regarding Ivie's medical condition before he provided a recorded statement. Defense counsel

should have contacted Dr. Ferrer, at least, to rnle out whether Ivie was capable ofproviding a

knowing and voluntary waiver. See State v. Ray, 116 Wn.2d 531, 548, 806 P.2d 1220 (1991)

("Failure to investigate or interview witnesses, or to properly inform the court ofthe substance of




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their testimony, is a recognized basis upon which a claim of ineffective assistance of counsel

may rest.").

        Because counsel did not reasonably investigate whether Dr. Ferrer had information

pertaining to Ivie's physical and mental condition after the shooting, it was impossible for

counsel to have made an informed decision as to whether Dr. Ferrer should testify at the CrR 3.5

hearing. Accordingly, defense counsel was deficient.

        3. Failure to Contact Dr. Ferrer was Not Prejudicial

        Dr. Ferrer's declaration does not contradict the trial court's oral findings. While Dr.

Ferrer declared that it is "frequently difficult" to obtain information from a patient experiencing

pain and under the influence of morphine, he did not claim to have any personal knowledge of

Ivie's interrogation or the circumstances in which he provided information in response to

questioning. Thus, Dr. Ferrer's declaration does not show that it was difficult for Ivie to provide

information in his circumstances.

        Further, consistently with the trial court's findings, Dr. Ferrer did not declare that Ivie

would have been incapable of providirtg coherent answers to police questioning. Although Dr.

Ferrer would have been able to provide testimony of the exact nature, timing, and duration of the

surgery and of the severity of Ivie's wounds, his testimony, as reflected in his declaration, would

not have undermined the trial court's findings regarding the circumstances and manner in which

Ivie responded to police questioning. For this reason, Ivie fails to demonstrate that the failure to

contact or call Dr. Ferrer to testify prejudiced Ivie. Because Ivie has not demonstrated prejudice,

his claim of ineffective assistance fails.




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E.      Failure to Call Dr. Ferrer at Trial Regarding Hospital Statement

        Related to the previous issue, Ivie argues that defense counsel's failure to obtain Dr.

Ferrer's testimony was deficient and prejudiced him at trial because his credibility had been

attacked through impeachment and Dr. Ferrer would have served to rehabilitate his credibility.2

We agree that defense counsel's failure to contact Dr. Ferrer was deficient, but we disagree that

it was prejudicial.

        Ivie argues that because defense counsel failed to investigate or call Dr. Ferrer, he lost an

opportunity to explain why there were inconsistencies between his direct testimony and his

hospital statement. Ivie claims that counsel was deficient because the jury would have found Dr.

Ferrer more believable at trial. Ivie contends that his hospital statement was unreliable because

of the trauma he recently experienced and the medications he was administered. He contends

that Dr. Ferrer's testimony would have explained to the jury why his hospital statement was

unreliable, thereby rehabilitating his credibility. In addressing these contentions, we focus on

whether counsel provided ineffective assistance in not contacting Dr. Ferrer or investigating his

potential testimony.

       1. Failure to Investigate Dr. Ferrer's Potential Testimony was Deficient

       As noted, the decision whether to call a particular witness is presumed to be a matter of

legitimate trial tactics. Davis, 152 Wn.2d at 742. However, this does not relieve an attorney of

the

       duty to make reasonable investigations or to make a reasonable decision that makes
       particular investigations unnecessary. In any ineffectiveness case, a particular

2Ivie argues that "[i]t appears that he was impeached no less than 13 times with statements he
made at that hospital that differed from his trial direct examination." Br. of Pet'r at 25.

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        decision not to investigate must be directly assessed for reasonableness in all the
        circumstances, applying a heavy measure of deference to counsel's judgments.

Strickland, 466 U.S. at 691.

        Dr. Ferrer declared that defense counsel did not contact him. Dr. Ferrer was Ivie's

treating physician immediately after the shooting and was the primary source of information

regarding Ivie's medical condition before he provided a recorded statement. Ivie was

interviewed soon after sustaining serious gunshot wounds for which he had been given

morphine. Defense counsel should have contacted Dr. Ferrer, at least to determine whether Ivie

was capable of providing a knowing and voluntary waiver. See Ray, 116 Wn.2d at 548 ("Failure

to investigate or interview witnesses, or to properly inform the court of the substance of their

testimony, is a recognized basis upon which a claim of ineffective assistance of counsel may

rest."). If defense counsel had done so, he would have been able to make an informed decision

as to whether to call Dr. Ferrer at trial to neutralize the impeachment using Ivie's hospital

statements. Accordingly, defense counsel was deficient.

        2. Failure to Investigate Dr. Ferrer's Potential Testimony was Not Prejudicial

       Ivie, however, does not show a reasonable probability that, but for counsel's failure to

call Dr. Ferrer, the verdict would have been different. Ivie testified he was shot in the back.

VRP at 592. He also testified that he was in pain and on morphine and OxyContin. VRP at 552.

Dr. Ferrer's generalization that it is difficult to obtain information from a patient experiencing

extreme pain and receiving morphine by itself has little application to Ivie's specific

circumstances. Although defense counsel performed deficiently by neglecting to contact Dr.

Ferrer to investigate whether Ivie was capable of providing a knowing and voluntary waiver, Dr.



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Ferrer's declaration does not present any facts, beyond the noted generalizations, that call the

knowing and voluntary nah1re ofivie's waiver into question in the circumstances presented.

        This evidence does not show a reasonable probability that the verdict would have differed

had Dr. Ferrer's potential testimony been investigated. Thus, Ivie does not demonstrate that he

was prejudiced.

        Accordingly, this claim of ineffective assistance fails.

F.      Failure to Call Dr.Ferrer Regarding Location oflvie's Gunshot Wounds

        Ivie argues that his counsel's failure to obtain Dr.Ferrer's testimony was deficient and

prejudiced him at trial because Dr.Ferrer would have provided evidence as to the location of his

gunshot wounds. This, in Ivie's view, would challenge the State's version of the shooting. We

disagree.

        Ivie contends that because he was shot in the back, the jury could reasonably infer that

Adams "was not ...standing directly in front of the truck ... but standing on the driver's side of

the truck and fired after the truck had passed." Br.of Pet'r at 25. Adams testified that he would

have been hit "dead center " and "squished or killed " if he did not take evasive actions. VRP at

315. He also testified, "I was surprised I didn't get hit. I was surprised that I was able to move

across the bank fast enough to not get hit by the front of the truck. I didn't bother firing any

rounds at that point because I would have hit nothing but grille." VRP at 320. Adams testified

that he fired four rounds in the side of the truck and then an additional four rounds as the truck

was moving past and away from him.

       Dr.Ferrer was not at the scene, so he could not testify as to whether Ivie accelerated

towards Adams. Similarly, he could not testify as to whether Adams took evasive actions to


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avoid being struck. More to the point, any testimony by Dr. Ferrer that Ivie was shot in the back

would be consistent with Adams' testimony that he fired the four final shots as Ivie was going

past and away from him.

        Therefore, defense counsel was not deficient in failing to call Dr. Ferrer to testify to the

location of the wounds. Accordingly, this claim of ineffective assistance fails.

G.      Failure to Introduce Photographs oflvie's Gunshot Wounds

        Ivie argues that his counsel's failure to introduce photographs of his gunshot wounds was

deficient and prejudiced him at trial. We disagree.

        Ivie claims that introducing the photographs would have corroborated his story and

discredited Adams' testimony. However, as discussed above, Adams testified that he fired his

weapon from the side and rear oflvie's truck. The State's testimony is relatively consistent with

the location of Ivie's gunshot wounds, which presents a strategic reason for not introducing the

photographs. Moreover, the photographs do not address the issue of whether Adams was in the

path oflvie's vehicle before he fired the shots. Hence, counsel was not deficient for not

introducing photographs.

       Therefore, this cl.aim fails.

H.     Failure to Prepare Ivie to Testify

       Ivie claims that defense counsel's failure to prepare him to testify was deficient and

prejudiced him at trial. Assuming, without deciding, that counsel was deficient, we hold that

Ivie does not show prejudice; that is, a reasonable probability that the verdict would have been·

different if he had been better prepared to respond to inconsistencies between his hospital

statement and his trial testimony.


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        Ivie claims that "counsel never showed him a transcript or played him the recording of
                                                                          I

the statement he made" while he was at the hospital. Br. of Pet'r at 28. He supports this with his

own declaration. Ivie argues that, as a result, "he was unprepared to respond to questions about

discrepancies between his trial testimony and his hospital statement." Br. of Pet'r at 28.

However, before Ivie testified, his hospital statement was the subject of a motion to exclude. At

this hearing, an audio recording of his statement was played in court, and Ivie acknowledged that

he listened to the recording.

        Ivie's argument presupposes that he would have been better prepared to answer the

prosecutor's questions on cross-examination if counsel had showed him a transcript or played

him the recording of his hospital statements before he testified at trial. However, regardless of

whether Ivie's trial testimony could have been clearer about his prior inconsistent statements, or

whether his demeanor or credibility could have been improved with added preparation, Ivie does

not claim that the substance of the testimony he provided under oath at trial would have been any

different.

        The purpose of Ivie's testimony, in part, was to undermine the reliability of his hospital

statement by explaining that he was heavily medicated post-surgery thereby rendering him

unable to provide coherent, credible information to the police investigators. Ivie provided

positive testimony on those points when the prosecutor impeached him with prior inconsistent

statements on cross-examination. He also provided contradictory testimony on cross­

examination refuting parts of his hospital statement.

        When asked about the discrepancy between his hospital statement and trial testimony

regarding when he noticed that the police were tailing him with their lights on, Ivie clarified that


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he testified inconsistently because he "was under the influence ofmorphine and OxyContin" at

the hospital. VRP at 614. Even if counsel had prepared him better, the substance oflvie's

answer would still be the same-his hospital statements were unreliable because he was heavily

medicated. That testimony supplied a reasonable explanation for any inconsistency in his

memories of whether the lights were on. Hence, we see no prejudice in the allegedly deficient

preparation.

        When the prosecutor asked Ivie about when he noticed he was being chased by the

police, when he saw the police vehicle lights, and why he failed to stop, he confirmed he made

certain statements at the hospital, but stated, at trial, "that's not what I meant" and provided an

alternative explanation. VRP at 625-29. Even with better preparation by counsel, the essence of

Ivie's answer would in all probability remain the same: explaining that the prosecutor had

misinterpreted his hospital statement and describing what was going through his mind at the

time. Hence, the failure to prepare him did not result in prejudice.

       The prosecutor impeached Ivie about his relationship with a neighbor and his awareness

about her presence at the trailer where he attempted to tum his vehicle around. At the hospital,

Ivie stated his neighbor lived there only during the summer. However, at trial, Ivie testified that

"Cynthia comes up throughout the year" and "comes up once in awhile [sic]dutiiig the winter."

VRP at 634-35. He said, "I was in hopes that there would be" someone at the trailer when he

turned in that direction. VRP at 634. He clarified, "She just doesn't live up there. She- lives

somewhere else- during the winter. There's a lot of people that come up once in awhile [sic]."

VRP at 634-35.




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        Again, even ifcounsel had more thoroughly prepared Ivy, the substance ofhis answer

would likely be the same: he did not know whether Cynthia was currently residing at the trailer,

but hoped so. Also, there was no obvious inconsistency between Ivie's statement at the hospital

that Cynthia lives there only during the summer and his trial testimony that she comes up

throughout the year. We see no prejudice to Ivie from these statements.

        The prosecutor impeached Ivie in his testimony about Adams' vehicle and his location.

Ivie's hospital statement referred to the vehicle as a car. Ivie stated that when he came around,

Adams had blocked the road again, and he was out ofthe vehicle. He also stated that he noticed

the red and blue lights on the vehicle. At trial, however, Ivie testified he did not necessarily

know ifit was a car or truck, could not see Adams out ofthe vehicle, and did not notice any red

and blue lights engaged on the vehicle at the time. As above, even ifcounsel had prepared him

better, the substance oflvie's answer, iftruthful, would likely have been the same. More to the

point, these minor inconsistencies were readily explained by Ivie's testimony about his condition

at the hospital. We see no prejudice to Ivie from these statements.

       The prosecutor impeached Ivie about his understanding ofwho owned the property where

the maple tree was. At the hospital, Ivie stated, "[I]t's in the greenbelt; belongs to everybody in

Cushman." 4 VRP at 642. At trial, Ivie testified that the property belonged to a man named

John Spurrier. Ivie also explained at trial, however, that "[t]here's a greenbelt right next to

John's property. And where the tree is, I believe it's on the greenbelt." 4 VRP at 642. Ivie does

not explain how his answer would have differed ifhe had been better prepared. Also, his

testimony about his condition at the hospital provided his best explanation for this minor

discrepancy. We see no prejudice from these statements.


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        Ivie's post-trial declaration does not claim that he would have made different substantive

statements at trial if he had been better prepared. Thus, additional pretrial preparation producing

more comprehensive answers would likely have added little to the essence of his testimony. Ivie

chose to testify at trial. His trial testimony would either be consistent or inconsistent with his

hospital statement. Presuming Ivie's trial testimony was truthful, no amount of preparation

would have changed Ivie's trial testimony to avoid inconsistency with his purportedly inaccurate

hospital statement. Further, no amount of preparation would have precluded the State from

impeaching Ivie with his prior inconsistent statements. Ivie has not shown a reasonable

probability that, but for counsel's errors, the result of the proceeding would have differed.

Accordingly, Ivie was not prejudiced by counsel's alleged failure to prepare him.

I.      Failure to Object to State's Evidence and to Adequately Cross-Examine Witnesses

        Ivie argues that his counsel's failure to object to Simper's testimony regarding the

computer-based crime scene reconstruction was deficient and prejudiced him at trial. We

disagree.

        Ivie claims that defense c0tmsel should have objected to Simper's testimony because the

prosecutor did not lay a proper foundation for the testimony. In addition, Ivie argues that on

cross-examination, "counsel asked no questions challenging the images, the measurements, or

the accuracy of the bullet trajectories contained on the images." Br. of Pet'r at 30. Ivie argues

that "[t]he Total Station diagrams and the State's demonstrative photographs with the colored

rods were inaccurate and misleading as to the trajectory of the shots fired by Adams." Reply Br.

of Pet'r at 12.




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            The State introduced several computer-generated images (i.e., Total Station diagrams) of

    the crime scene through the testimony of Simper. The images allegedly depicted the location of

    various items of evidence such as shell casings, Adams' vehicle, the path of Ivie's truck, and the

    trajectory of the bullets fired by Adams.

            When the basis of an ineffective assistance argument is the failure to object to evidence,

    the appellant must show "(1) an absence of legitimate strategic or tactical reasons supporting the

    challenged conduct; (2) that an objection to the evidence would likely have been sustained; and

    (3) that the result of the trial would have been different had the evidence not been admitted."

    State v. Saundr.::rs, 91 Wn. App. 575, 578, 958 P.2d 364 (1998) (internal citations omitted). Ivie
/


    argues that the failure to object could not be a legitimate strategy or tactic because the evidence

    does not support his expert's theory regarding vehicle orientation and bullet trajectory.

            However, defense counsel may have decided that an objection would draw attention to

    evidence that was inconsistent with his defense. In State v. Gladden, 116 Wn. App. 561, 568, 66

    P.3d 1095 (2003), the court concluded that the failure to object was a legitimate trial tactic where

    counsel may have decided that an objection would draw attention to the information he sought to

    exclude. By not objecting to Simper's testimony, jurors were less likely to place undue weight

    on that evidence. Counsel may also have decided that Simper's testimony actually helped Ivie,

    because the bullet holes in the side of the car were inconsistent with the claim that Ivie drove

    straight at Adams. Ivie has not rebutted the presumption that the failure to object was the

    product of legitimate trial tactics or strategy.

            Ivie also argues that "[d]uring cross-examination of Detective Simper, counsel asked no

    questions challenging the images, the measurements, or the accuracy of the bullet trajectories


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contained on the images." Br. of Pet'r at 30. However, on cross-examination, when counsel

asked whether Simper could fonn an opinion about where Adams was standing when he fired at

Ivie's vehicle, Simper testified,

        [T]hat would be narrowed down to a specific area, just based on the position where
        those shell casings were located. However, to determine exactly where Sergeant
        Adams was at the time that each shot was fired would be ... futile, just based on .
        . . several variables.

VRP at 251.

        Thus, counsel's question was able to convey to the jury that determining Adams' exact

location would be an exercise in futility and, as such, questioned the accuracy of the total station

software. Id. Notwithstanding the fact that Ivie now claims he would have asked different (or

more) questions on cross-examination, shrewd arguments often look obvious in hindsight. As

the court stated in Strickland, 466 U.S. at 669,

        a fair assessment of attorney performance requires that every effort be made to
        eliminate the distorting effects of hindsight, to reconstruct the circumstances of
        counsel's challenged conduct, and to evaluate the conduct from counsel's
        perspective at the time.

        We presume counsel was reasonable in his line of questioning because the manner of

cross-examination is generally a matter of judgment and strategy. See Davis, 152 Wn.2d at 720.

Ivie has not shown the contrary. Therefore, he has not established deficient performance, and his

claim fails.

J.      Failure to Contact Lay Witnesses (Churchill)

       Ivie claims that defense counsel's failure to locate and interview lay witnesses to

corroborate his testimony was deficient and prejudiced his defense. Specifically, Ivie claims that




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ifcounsel had performed an objectively reasonable investigation oflay witnesses he would have

contacted Churchill, who claims Reed attempted to fabricate evidence against Ivie. We disagree.

        To provide effective assistance,defense counsel must investigate the case,which

includes investigation ofwitnesses. State v. Jones, 183 Wn.2d 327,339,352 P.3d 776 (2015).

The duty to investigate does not necessarily require that every witness be interviewed,but

defense counsel has an obligation to provide factual support for the defense where it is available.

Davis, 152 Wn.2d at 739. "Failure to investigate or interview witnesses,or to properly inform

the court of the substance oftheir testimony,is a recognized basis upon which a claim of

ineffective assistance ofcounsel may rest." Ray, 116 Wn.2d at 548. Therefore,failure to

interview a particular witness may constitute deficient performance. Jones, 183 Wn.2d at 340.

Whether performance is deficient may hinge on the reason for such failure to interview. Id.

Further, "[i]n evaluating prejudice, 'ineffective assistance claims based on a duty to investigate

must be considered in light ofthe strength ofthe government's case.'" Davis, 152 Wn.2d at 739

(quoting Rios v. Rocha, 299 F.3d 796, 808-09 (Ninth Circ. 2002)).

       Because the merits oflvie's contentions could not be determined solely on the record

before us, we remanded the petition for a reference hearing on this specific issue. At the

reference hearing, Foley, Churchill,Doughty, and Reed testified. After the hearing, the superior

court reviewed defense counsel's file and his billings that referenced Churchill. The superior

court also accepted a stipulation ofthe parties that Marx, Ivie's girlfriend, was contacted by

Doughty regarding Churchill.

       In sum, the superior court found the following relevant facts: (1) Ivie advised defense

counsel that Churchill was a potential witness, (2) defense counsel had knowledge that Churchill


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was a potential witness and knowledge concerning the substance ofhis testimony, (3) defense

counsel directed Doughty,his private investigator, to locate and/or contact Churchill,(4)

Doughty attempted to locate and/or contact Churchill by phone and on-line searches,(5) the

online search disclosed two possible addresses for Churchill,one in Shelton and one in Union,

(6) Doughty investigated one possible address,where he contacted a woman who claimed she

. did not know where Churchill was,but the superior court's order does not discuss whether

Doughty contacted the other address,(7) it is more probable than not that the attempts to find

Churchill were limited to those testified to by Doughty,(8) defense counsel testified that he

never contacted Churchill because he could not find him,(9) Churchill testified that Reed

attempted to suborn false testimony from him for use in Ivie's trial,and (10) Reed testified that

he has never asked a potential witness to testify falsely, including Churchill.

       The record does not support Ivie's assertion that his counsel's performance fell below an

objective standard ofreasonableness. Instead,the record shows that defense counsel attempted

to investigate Churchill's allegations,but his private investigator,Doughty,was unable to locate

or contact him. Cf In re Pers. Restraint of Gomez, 180 Wn.2d 337,355,325 P.3d 142 (2014)

(after defendant suggested defense counsel contact potential lay witness,counsel made numerous

attempts to interview the lay witness,and even tried to subpoena her,but to no avail). Defense

counsel's attempts to locate and/or contact Churchill through his private investigator were

objectively reasonable. The inability to locate and/or contact a potential witness-after

reasonable efforts have been made-does not constitute deficient performance. See id. at 355-

56.




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        Furthermore, the facts suggest that defense counsel was generally aware of the facts and

testimony Churchill would have provided to support Ivie's credibility argument against Reed.

Counsel's choice not to develop this argument following the inability to locate and/or contact

Churchill was similarly objectively reasonable. See id. at 355-56. Therefore, we do not address

the prejudice prong of the Strickland test, and Ivie's claim fails.

K.      Failure to Present Adequate Closing Argument

        Ivie claims that his counsel's failure to present an adequate closing argument including

basic exculpatory facts was deficient and prejudiced him at trial. Specifically, Ivie claims that

counsel's failure to address the location of his gunshot wounds and his physical and mental

condition at the time he provided his hospital statement in closing was objectively unreasonable.

We disagree.

       There are many different ways to present a closing argument. Decisions about what to

include (or exclude) in closing argument necessarily involves trial strategy and tactics. Grier,

171 Wn.2d at 33-34. During closing argument, defense counsel emphasized Ivie's testimony

that it was dark outside, the officers were wearing black, he did not see Reed or Adams, and he

did not intend to hit either of them with his vehicle. This was consistent with a legitimate

defense strategy to bolster his client's testimony. Counsel may have had a strategic reason for

not emphasizing the location of the gunshot wounds and his hospital statement. For example, the

hospital statement had already been used to impeach Ivie's direct testimony, which counsel was

trying to highlight in closing. Given the strong presumption that counsel's performance was

effective, we hold that his closing argument was not deficient.




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L.      Failure to Object to the State's Rebuttal Closing Argument

        Ivie claims that defense counsel's failure to object to the prosecutor's rebuttal closing

argument described in Part II.,B. of the Analysis was deficient and prejudiced him at trial.

        In Part IL B. and C.,above,we concluded that the prosecutor's rebuttal closing was

improper,but that it was not prosecutorial misconduct because it failed the heightened standard

of Emery. It failed that standard,we concluded,for two separate reasons: a curative instruction

would have obviated any prejudicial effect on the jury and the improper remarks did not have a

substantial likelihood of affecting the jury verdict. The latter is the same standard for showing

the prejudice necessary for ineffective assistance of counsel. Therefore,even if we assume that

counsel's failure to object to the prosecutor's improper remarks was deficient,Ivie still has not

shown the requisite prejudice for ineffective assistance of counsel. With that,this claim of

ineffective assistance of counsel fails.

                                      IV. CUMULATNE ERROR

       Finally,Ivie argues that the cumulative effect of the errors he has identified deprived him

of a fair trial. We disagree.

       Under the cumulative error doctrine,a reviewing court may reverse a defendant's

conviction when the combined effect of trial errors denied him a fair trial,even if each error

alone would be harmless. State v. Weber, 159 Wn.2d 252,279, 149 P.3d 646 (2006). Stated

another way,

       [:f]or relief based on the cumulative error doctrine, the defendant must show that
       while multiple trial errors, 'standing alone, might not be of sufficient gravity to
       constitute grounds for a new trial,the combined effect of the accumulation of errors
       most certainly requires a new trial."'



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State v. Clark, 187 Wn.2d 641,649,389 P.3d 462 (2017) (quoting State v. Coe, 101 Wn.2d 772,

789, 684 P.2d 668 (1984)). The doctrine does not apply where the errors are few and have little

or no effect on the trial's outcome. Weber, 159 Wn.2d at 279.

        The case law offers some guidance as to how these abstractions are to be implemented.

In State v. Badda, 63 Wn.2d 176,183,385 P.2d 859 (1963),the Supreme Court held that an

accumulation of errors required a new trial. The errors included the failure to give the required

precautionary instruction when one of two co-defendants confessed to the crime; the failure to

give the required precautionary instruction when the case was submitted to the jury solely on

uncorroborated accomplice testimony; and the failure to inform the jury that the verdict must be

unanimous in the absence of adequate evidence the jury was polled. State v. Alexander, 64 Wn.

App. 147, 158, 822 P.2d 1250 (1992), held that reversal was required because (1) a witness

impermissibly suggested the victim's story was consistent and truthful,(2) the prosecutor

impermissibly elicited the defendant's identity from the victim's mother,and (3) the prosecutor

repeatedly attempted to introduce inadmissible testimony during the trial ancJ_ in closing. Finally,

State v. Whalan, l Wn. App. 785,804,464 P.2d 730 (1970),reversed a conviction on the basis

of (1) the court's severe rebuke of the defendant's attorney in the presence of the jury, (2) the

court's denial of the testimony of the defendant's wife, and (3) the jury listening to a tape

recording of a lineup in the absence of court and counsel.

       In this decision we hold or assume that a number ofivie's challenges show improper or

deficient conduct, but that they fail for lack of prejudice. We summarize their effects below and

examine whether their combined effect denied Ivie a fair trial.




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        First, we hold above that the failure to contact Dr. Ferrer or investigate his potential

testimony about Ivie's condition at the hospital was deficient in two respects: it may have

provided evidence that Ivie's waiver ofthe right to silence was not voluntary, and it may have

better explained the inconsistencies between Ivie's hospital statement and his ttial testimony.

We recognize that Dr. Ferrer's testimony as reflected in his declaration would have helped Ivie

to some degree in arguing an involuntary waiver or in repaiting his credibility. Dr. Ferrer,

though, did not testify about Ivie's condition individually. Rather, he opined that "it is

frequently difficult to obtain information from a patient who is experiencing extreme pain and

receiving morphine." Br. ofPet'r, App. 51-53, Deel. ofFerrer. Any benefit to Ivie from this

opinion is limited by its generality. In addition, the description in Dr. Ferrer's declaratio·n of

Ivie's wounds, his reporting severe pain and his taking morphine was largely cumulative of

Ivie's testimony.

       Next is Ivie's claim that defense counsel did not inform him ofthe content ofivie's

statements at the hospital, which in tum impaired Ivie's ability to withstand cross-examination

based on those statements. Part III. H., above, describes the specific instances in which Ivie was

impeached with the hospital statements and Ivie's explanations ofthe inconsistencies. It also

notes that Ivie's post-trial declaration does not claim that he would have made different

substantive statements at trial ifhe had been better prepared.

       Finally, we hold above that the impugning remarks in the State's rebuttal closing

argument were improper, and we also assume that defense counsel's failure to object to them

was deficient. The effect these actions may have had would lie in the jury's attitude toward

defense counsel.


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        The State presented substantial evidence against Ivie. The impropriety and deficiencies.

just described, viewed individually, did not prejudice Ivie. Considering the nature and context of

these actions, the substantial evidence against Ivie, and having reviewed the record, we cannot

say that their combined effect deprived Ivie of a fair trial. This conclusion is supported by a

comparison to the more serious errors that underlay the cumulative error in Badda, Alexander,

and Whalan, noted above.

        For these reasons, cumulative error does not warrant granting this petition.

                                          CONCLUSION

        Ivie's PRP is denied.

        A majority of the panel having determined that this opinion will not be printed in the

Washington Appellate Reports, but will be filed for public record in accordance with RCW

2.06.040, it is so ordered.


                                                      �-                      ;J
                                                      BJ�Jr-·-------
 We concur:



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         �,l.J,



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